SQUARETWO FINANCIAL SERVICES CORPORATION, ET AL. HAVE NOT FILED
VOLUNTARY CHAPTER 11 CASES UNDER CHAPTER 11 OF TITLE 11 OF THE UNITED
STATES CODE. NO CHAPTER 11 CASES HAVE YET BEEN COMMENCED. PROMPTLY
FOLLOWING THE COMMENCEMENT OF THEIR CHAPTER 11 CASES, SQUARETWO
FINANCIAL SERVICES CORPORATION, ET AL., EXPECT TO SEEK AN ORDER OF THE
BANKRUPTCY COURT APPROVING THE DISCLOSURE STATEMENT RELATED TO, AND
THE SOLICITATION OF VOTES FOR AND CONFIRMING, THIS PREPACKAGED
CHAPTER 11 PLAN.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :       Chapter 11
                                                       :
SquareTwo Financial Services                           :       Case No. 17-__________ (              )
                       1
Corporation, et al.,                                   :
                                                       :       (Joint Administration Pending)
                           Debtors.                    :
-------------------------------------------------------x


      JOINT PREPACKAGED CHAPTER 11 PLAN FOR SQUARETWO FINANCIAL
            SERVICES CORPORATION AND ITS AFFILIATED DEBTORS


    Dated:        New York, New York
                  March 3, 2017

                                                      WILLKIE FARR & GALLAGHER LLP
                                                      Counsel for the Prospective Debtors and Debtors in
                                                      Possession
                                                      787 Seventh Avenue
                                                      New York, New York 10019
                                                      (212) 728-8000



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     The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer identification
     number and/or Canadian equivalent are as follows: Astrum Financial, LLC (2265); Autus, LLC (2736); CA
     Internet Marketing, LLC (7434); CACH, LLC d/b/a Fresh View Funding (6162); CACV of Colorado, LLC
     (3409); CACV of New Jersey, LLC (3499); Candeo, LLC (2809); CCL Financial Inc. (7548); Collect Air, LLC
     (7987); Collect America of Canada, LLC (7137); Healthcare Funding Solutions, LLC (2985); Metropolitan
     Legal Administration Services, Inc. (6811); Orsa, LLC (2864); Preferred Credit Resources Limited (0637);
     ReFinance America, Ltd. (4359); SquareTwo Financial Canada Corporation (EIN: 1034; BN: 0174);
     SquareTwo Financial Corporation (1849); and SquareTwo Financial Services Corporation d/b/a Fresh View
     Solutions (5554). The Debtors’ executive headquarters are located at 6300 South Syracuse Way, Suite 300,
     Centennial, CO 80111.
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                             DEFINITIONS AND INTERPRETATION

                 A.      Definitions.2

               The following terms shall have the meanings set forth below (such meanings to be
equally applicable to both the singular and plural):

        1.1.    1.25 Lien Administrative Agent means Cortland Capital Market Services LLC, or
its successors and assigns, in its capacity as administrative agent for the 1.25 Lien Lenders under
the 1.25 Lien Credit Agreement.

        1.2.   1.25 Lien Credit Agreement means the 1.25 Lien Credit Agreement, dated as of
May 24, 2016 (as amended, modified or supplemented from time to time), by and among
SquareTwo, as borrower, the other Debtors as guarantors, the 1.25 Lien Administrative Agent
and the 1.25 Lien Lenders, including all agreements, documents, notes, instruments and any
other agreements delivered pursuant thereto or in connection therewith (in each case, as
amended, modified or supplemented from time to time).

      1.3.   1.25 Lien Lender means any lender, in its capacity as such, under the 1.25 Lien
Term Loan Facility pursuant to the 1.25 Lien Credit Agreement, and its successors and assigns.

        1.4.    1.25 Lien Lender Claim means all Claims against any Debtor related to, arising
under, or in connection with, the 1.25 Lien Term Loan Facility and the 1.25 Lien Credit
Agreement, which shall be Allowed on the Effective Date in the aggregate principal amount of
$16,304,130.10, plus (x) accrued and unpaid interest at the default rate to the Petition Date,
(y) postpetition interest at the non-default rate from the Petition Date to the 45th day after the
Petition Date and at the default rate thereafter to the Effective Date, and (z) the 1.25 Lien Lender
Fee Claim.

        1.5.  1.25 Lien Lender Distribution means Cash in an amount equal to the amount of
the Allowed 1.25 Lien Lender Claim.

       1.6.    1.25 Lien Lender Fee Claim means the reasonable and documented out-of-pocket
fees and expenses incurred by the 1.25 Lien Administrative Agent and the 1.25 Lien Lenders
who are party to the RSA (and remain party thereto on the Effective Date) (including those of
Paul, Weiss, Rifkind, Wharton & Garrison LLP and of one Canadian counsel, on behalf of the
1.25 Lien Lenders party to the RSA and the Consenting 1.5 Lien Lenders) incurred under the
1.25 Credit Agreement, which Claims shall be Allowed on the Effective Date.

      1.7.   1.25 Lien Term Loan means the term loan in the original principal amount of
$15,000,000 made pursuant to the 1.25 Lien Credit Agreement.

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    Capitalized terms not defined herein shall have the meanings given them in the Plan Funding Agreement, the
    RSA, and the TSA, as applicable.
        1.8.   1.25 Lien Term Loan Facility means the prepetition term loan facility consisting
of the 1.25 Lien Term Loan provided to the Debtors pursuant to the 1.25 Lien Credit Agreement.

        1.9.    1.5 Lien Administrative Agent means Cortland Capital Market Services LLC, or
its successors and assigns, in its capacity as administrative agent for the 1.5 Lien Lenders under
the 1.5 Lien Credit Agreement.

        1.10. 1.5 Lien Credit Agreement means the 1.5 Lien Credit Agreement, dated as of
May 24, 2016 (as amended, modified or supplemented from time to time), by and among
SquareTwo, as borrower, the other Debtors as guarantors, the 1.5 Lien Administrative Agent and
the 1.5 Lien Lenders, including all agreements, documents, notes, instruments and any other
agreements delivered pursuant thereto or in connection therewith (in each case, as amended,
modified or supplemented from time to time).

      1.11. 1.5 Lien Lender means any lender, in its capacity as such, under the 1.5 Lien
Term Loan Facility pursuant to the 1.5 Lien Credit Agreement, and its successors and assigns.

       1.12. 1.5 Lien Lender Claim means all Claims against any Debtor related to, arising
under, or in connection with, the 1.5 Lien Term Loan Facility and the 1.5 Lien Credit
Agreement, which shall be Allowed on the Effective Date in the aggregate principal amount of
$191,523,223.79, plus accrued and unpaid interest at the non-default rate, if any, to the Petition
Date.

       1.13.   1.5 Lien Lender Distribution means the Remaining Cash.

        1.14. 1.5 Lien Lender Fee Claim means the unpaid reasonable and documented out-of-
pocket fees and expenses incurred by the 1.5 Lien Administrative Agent and the 1.5 Lien
Lenders who are party to the RSA (and remain party thereto on the Effective Date) (including
those of Paul, Weiss, Rifkind, Wharton & Garrison LLP and of one Canadian counsel, on behalf
of the Consenting 1.5 Lien Lenders and the 1.25 Lien Lenders party to the RSA) incurred under
the 1.5 Lien Credit Agreement, which Claims shall be Allowed on the Effective Date.

      1.15. 1.5 Lien Term Loan means the term loan in the original principal amount of
$176,096,700 made pursuant to the 1.5 Lien Credit Agreement.

        1.16. 1.5 Lien Term Loan Facility means the prepetition term loan facility consisting
of the 1.5 Lien Term Loan provided to the Debtors pursuant to the 1.5 Lien Credit Agreement.

       1.17. Acquired Debtors means CACH, LLC (d/b/a Fresh View Funding); CACV of
Colorado, LLC; CCL Financial Inc.; Metropolitan Legal Administration Services, Inc.; Preferred
Credit Resources Limited; SquareTwo Financial Canada Corporation (and any of their respective
successors).

       1.18.   Administrative Bar Date has the meaning set forth in Section 3.2(a) of this Plan.

      1.19. Administrative Expense Claim means any right to payment constituting a cost or
expense of administration of the Chapter 11 Cases of the kind specified in section 503(b) of the
Bankruptcy Code and entitled to priority pursuant to sections 328, 330, 363, 364(c)(1), 365,


                                                 2
503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code (other than a DIP Claim, Fee
Claim or U.S. Trustee Fees) incurred during the period from the Petition Date to the Effective
Date, including: (a) any actual and necessary costs and expenses of preserving the Estates, any
actual and necessary costs and expenses of operating the Debtors’ business, and any
indebtedness or obligations incurred or assumed by any of the Debtors during the Chapter 11
Cases; (b) any payment to be made under this Plan to cure a default under an assumed, or
assumed and assigned, executory contract or unexpired lease; and (c) any amounts payable to the
Plan Investor as provided under the Plan Funding Agreement.

      1.20. Allowed means, with respect to a Claim under this Plan, a Claim that is an
Allowed Claim or an Allowed __________ Claim.

         1.21. Allowed Claim or Allowed __________ Claim (with respect to a specific type of
Claim, if specified) means: (a) any Claim (or a portion thereof) as to which no action to dispute,
disallow, deny or otherwise limit recovery with respect thereto, or alter the priority thereof
(including a claim objection), has been timely commenced within the applicable period of
limitation fixed by this Plan or applicable law, or, if an action to dispute, disallow, deny,
equitably subordinate or otherwise limit recovery with respect thereto, or alter priority thereof,
has been timely commenced, to the extent such Claim has been allowed (whether in whole or in
part) by a Final Order of a court of competent jurisdiction with respect to the subject matter; or
(b) any Claim or portion thereof that is allowed (i) in any contract, instrument, or other
agreement entered into in connection with this Plan, (ii) pursuant to the terms of this Plan,
(iii) by Final Order of the Bankruptcy Court, or (iv) with respect to an Administrative Expense
Claim only (x) that was incurred by a Debtor in the ordinary course of business during the
Chapter 11 Cases to the extent due and owing without defense, offset, recoupment or
counterclaim of any kind, and (y) that is not otherwise disputed.

        1.22. Amended Certificates of Formation means the amended and restated certificates
of formation or similar constitutive document for the Reorganized Debtors (as may be amended,
modified or supplemented from time to time), on terms and conditions satisfactory to: (a) the
Debtors with respect to the Dissolving Debtors and (b) the Debtors and the Plan Investor with
respect to the Acquired Debtors. A form of Amended Certificate of Formation for the Acquired
Debtors will be filed as part of the Plan Supplement.

        1.23. Amended LLC Agreements means the amended and restated limited liability
company agreements or similar constitutive document for the applicable Acquired Debtors (as
may be amended, modified or supplemented from time to time), on terms and conditions
satisfactory to the Debtors and the Plan Investor. A form of Amended LLC Agreement will be
included in the Plan Supplement.

       1.24. Assumed U.S. Liabilities means only those liabilities of a U.S. Debtor that are
being assumed or assumed and assigned by the applicable Acquired Debtor on the Effective
Date, which are set forth on Exhibit A.

        1.25. Ballot means the form distributed by the Debtors or the Claims Agent to holders
of impaired Claims entitled to vote on this Plan on which the acceptance or rejection of this Plan
is to be indicated.


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        1.26. Bankruptcy Code means title 11 of the United States Code, as amended from time
to time, as applicable to the Chapter 11 Cases.

        1.27. Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of New York, or any other court exercising competent jurisdiction over the Chapter 11
Cases or any proceeding therein.

       1.28. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the
United States Code, as amended from time to time, as applicable to the Chapter 11 Cases, and
any Local Rules of the Bankruptcy Court.

       1.29. Business Day means any day other than a Saturday, Sunday, a “legal holiday,” as
defined in Bankruptcy Rule 9006(a), or a day on which banks are not open for general business
in Toronto, Ontario, Canada or New York, New York.

       1.30. Canadian Borrowers means each of Debtors CCL Financial, Inc. and Preferred
Credit Resources Limited, as borrowers under the First Lien Financing Agreement.

       1.31. Canadian Claims means all Claims against any Canadian Debtor, including
Administrative Expense Claims, Priority Tax Claims, Other Secured Claims and Canadian
General Unsecured Claims, but specifically excluding all Prepetition Secured Lender Claims and
1.5 Lien Lender Fee Claims and, except as set forth in the Plan Funding Agreement, Fee Claims,
provided that no Claims solely against U.S. Debtors shall also be Canadian Claims.

       1.32. Canadian Court means the Ontario Superior Court of Justice (Commercial list) or
any other court exercising competent jurisdiction over the Canadian Proceeding.

       1.33. Canadian Debtors means Debtors SquareTwo Financial Canada Corporation,
CCL Financial Inc., Preferred Credit Resources Limited, and Metropolitan Legal Administration
Services, Inc.

       1.34. Canadian General Unsecured Claim means any Claim against a Canadian
Debtor other than: (a) a First Lien Lender Claim; (b) a 1.25 Lien Lender Claim; (c) a 1.5 Lien
Lender Claim; (d) an Other Secured Claim; (e) a Second Lien Lender Claim; (f) a DIP
Claim; (g) an Administrative Expense Claim; (h) a Fee Claim (except to the extent set forth in
the Plan Funding Agreement); (i) a Priority Tax Claim; (j) a Priority Non-Tax Claim; (k) an
Intercompany Claim; and (l) U.S. Trustee Fees.

       1.35. Canadian Proceeding means the recognition proceedings commenced on or
around the Petition Date under Part IV of the Companies Creditors Arrangement Act, R.S.C.
1985 c C-36, in the Canadian Court to, among other things, recognize the Chapter 11 Cases as
“foreign main proceedings.”

       1.36.   Canadian PurchaseCo has the meaning set forth in the Plan Funding Agreement.




                                                4
      1.37. Canadian Revolving Loans means the revolving loans made by the First Lien
Revolving Loan Lenders to the Canadian Borrowers pursuant to the First Lien Financing
Agreement in the principal amount of up to $17,500,000.

       1.38.   Cash means the legal currency of the United States and equivalents thereof.

        1.39. Causes of Action means any and all actions, causes of action (including causes of
action under sections 510, 541, 544, 545, 546, 547, 548, 549, 550 and 553 of the Bankruptcy
Code), suits, accounts, controversies, obligations, judgments, damages, demands, debts, rights,
agreements, promises, rights to legal remedies, rights to equitable remedies, rights to payment,
and claims (as defined in section 101(5) of the Bankruptcy Code), whether known or unknown,
reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, disputed, undisputed, secured, unsecured and whether asserted or assertable
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or tort,
arising in law, equity or otherwise.

        1.40. Chapter 11 Cases means the cases (anticipated to be jointly-administered cases)
under chapter 11 of the Bankruptcy Code to be commenced by the Debtors on the Petition Date
in the Bankruptcy Court.

        1.41. Claim means any “claim” as defined in section 101(5) of the Bankruptcy Code
against any Debtor or property of any Debtor, including any Claim arising after the Petition
Date.

      1.42. Claims Agent means Prime Clerk LLC or any other entity approved by the
Bankruptcy Court to act as the Debtors’ claims and noticing agent pursuant to 28 U.S.C. §156(c).

        1.43. Class means each category of Claims or Interests established under Article IV of
this Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

      1.44.    Closing Purchase Price has the meaning set forth in the Plan Funding
Agreement.

       1.45. Collateral means any property, wherever located, including Canada, or interest in
property of the Estates subject to a Lien to secure the payment or performance of a Claim.

        1.46. Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order on the docket of the Bankruptcy Court.

       1.47. Confirmation Hearing means a hearing to be held by the Bankruptcy Court
regarding confirmation of this Plan, as such hearing may be adjourned or continued from time to
time.

       1.48. Confirmation Order means the order of the Bankruptcy Court confirming this
Plan pursuant to section 1129 of the Bankruptcy Code, the form and substance of which shall be
acceptable to each of the Required Parties and the Debtors, as may be amended, modified, or
supplemented from time to time with the consent of each of the Required Parties and the
Debtors.


                                                  5
      1.49. Consenting 1.5 Lien Lenders means, as of the relevant time, those 1.5 Lien
Lenders that are party to the RSA.

       1.50. Consenting Lender Fee Claims means the First Lien Lender Fee Claims, the 1.25
Lien Lender Fee Claims and the 1.5 Lien Lender Fee Claims.

       1.51. Consenting Lenders means, as of the relevant time, those First Lien Lenders, 1.25
Lien Lenders and 1.5 Lien Lenders that are party to the RSA.

        1.52. Creditors’ Committee means the statutory committee of unsecured creditors, if
any, appointed in the Chapter 11 Cases in accordance with section 1102 of the Bankruptcy Code,
as the same may be reconstituted from time to time.

       1.53.   Cure Amount has the meaning set forth in Section 10.3(a) of this Plan.

       1.54.   Cure Dispute has the meaning set forth in Section 10.3(c) of this Plan.

       1.55.   Cure Schedule has the meaning set forth in Section 10.3(b) of this Plan.

       1.56. Debtor(s) means, individually or collectively, as the context requires, SquareTwo,
and each of its affiliated debtors and debtors in possession in the Chapter 11 Cases listed in
footnote 1 hereto that commenced the Chapter 11 Cases on the Petition Date.

        1.57. DIP Administrative Agent means Cerberus Business Finance, LLC, solely in its
respective capacities as administrative agent and collateral agent under the DIP Financing
Agreement, or any other administrative agent appointed pursuant to the terms therein.

        1.58. DIP Claims means all Claims of the DIP Administrative Agent and/or the DIP
Lenders related to, arising under, or in connection with a DIP Order and the DIP Financing
Documents, including, without limitation, Claims for all principal amounts outstanding, interest,
fees, reasonable and documented expenses (including the reasonable and documented expenses
of both U.S. and Canadian counsel as set forth in the DIP Financing Agreement), costs and other
charges of the DIP Administrative Agent and the DIP Lenders in respect of the obligations of the
Debtors arising under the DIP Financing Agreement.

       1.59. DIP Financing Agreement means the Senior Secured Super-Priority Debtor in
Possession Financing Agreement, dated as of [________], 2017, by and among the Debtors and
the DIP Lenders, as the same may be modified, amended or supplemented from time to time, in
accordance with the terms thereof (and including any and all documents and instruments
executed in connection therewith).

      1.60. DIP Financing Documents means the DIP Financing Agreement and all other
agreements, documents and instruments entered into in connection with the DIP Financing
Agreement.

        1.61. DIP Lenders means, collectively, and as of the relevant time, those lenders that
are party to the DIP Financing Agreement.



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       1.62. DIP Order means the order or orders of the Bankruptcy Court authorizing and
approving the Debtors’ entry into the DIP Financing Agreement, as recognized by order of the
Canadian Court.

       1.63. Disallowed means a finding or conclusion of law of the Bankruptcy Court in a
Final Order, or provision in the Confirmation Order, disallowing a Claim or Interest.

       1.64. Disbursing Agent means the applicable Reorganized Debtor or the entity
designated by such Reorganized Debtor, who may be the Plan Administrator, to distribute the
Plan Consideration.

       1.65. Disclosure Statement means the disclosure statement that relates to this Plan,
including all exhibits and schedules annexed thereto or referred to therein, (in each case, as it or
they may be amended, modified, or supplemented from time to time), which shall be in form and
substance acceptable to each of the Required Parties and the Debtors.

       1.66. Disclosure Statement Hearing means a hearing (which also may be the
Confirmation Hearing) held by the Bankruptcy Court to consider approval of the Disclosure
Statement as containing adequate information as required by section 1125 of the Bankruptcy
Code, as the same may be adjourned or continued from time to time.

         1.67. Disputed Claim means, as of any relevant date, any Claim, or any portion thereof:
(a) that is not an Allowed Claim as of the relevant date; and/or (b) is otherwise disputed by any
of the Debtors, the Acquired Debtors, the Plan Administrator or the Dissolving Debtors, as
applicable, in accordance with applicable law or contract, which dispute has not been withdrawn,
resolved or overruled; or (c) for which a proof of Claim has been timely filed with the
Bankruptcy Court or a written request for payment has been made, to the extent the Debtors or
any party in interest has interposed a timely objection or request for estimation, which objection
or request for estimation has not been withdrawn or determined by a Final Order as of the
relevant date.

        1.68. Dissolving Debtors means each of Astrum Financial, LLC; Autus, LLC; CACV
of New Jersey, LLC; CA Internet Marketing, LLC; Collect Air, LLC; Collect America of
Canada, LLC; Orsa, LLC; ReFinance America, Ltd.; Healthcare Funding Solutions, LLC;
Candeo, LLC; SquareTwo (also referred to herein as “Wind Down Co” on and after the Effective
Date); and SquareTwo Financial Services Corporation (d/b/a Fresh View Solutions) (and any of
their respective successors).

         1.69. Distribution Date means: (a) with respect to DIP Claims, First Lien Lender
Claims, 1.25 Lien Lender Claims and 1.5 Lien Lender Claims, the Effective Date, or as soon
thereafter as is reasonably practicable; (b) with respect to Administrative Expense Claims,
Priority Non-Tax Claims, U.S. Trustee Fees, Priority Tax Claims, and Other Secured Claims, the
date that is the latest of: (i) the Effective Date (or any date within thirty (30) days thereafter);
(ii) the date such Claim would be due and payable in the ordinary course of business; and
(iii) any date that is within thirty (30) days after such Claim becomes an Allowed Claim or
otherwise becomes payable under this Plan (or, if such date is not a Business Day, on the next




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Business Day thereafter); and (c) with respect to Fee Claims, the date (or as soon thereafter as
reasonably practicable) that such Claims become Allowed Claims.

        1.70. Distribution Record Date means with respect to all Classes, the third Business
Day after the date the Confirmation Order is entered by the Bankruptcy Court or such other date
as shall be established by the Bankruptcy Court in the Confirmation Order.

        1.71. Effective Date means the date specified by the Debtors in a notice filed with the
Bankruptcy Court as the date on which this Plan shall take effect, which date shall be the first
Business Day on which all of the conditions set forth in Section 11.2 of this Plan have been
satisfied or waived and no stay of the Confirmation Order is in effect.

      1.72. Escrow means the escrow account to be established on or before the Effective
Date which shall be funded on the Effective Date by the Plan Investor in the initial amount of
$12,500,000 on the terms and as more fully set forth in the Plan Funding Agreement and the
Escrow Agreement.

       1.73.   Escrow Agreement has the meaning set forth in the Plan Funding Agreement.

        1.74. Estate means each estate created in the Chapter 11 Cases pursuant to section 541
of the Bankruptcy Code.

       1.75. Excluded U.S. Assets means those assets of a Debtor that are being retained by
the Dissolving Debtors, which are identified on Exhibit B to this Plan.

        1.76. Existing Canadian Interests means all existing Interests (other than
Intercompany Interests) in the Canadian Debtors that are outstanding immediately prior to the
Effective Date.

        1.77. Existing U.S. Interests means all existing Interests (other than Intercompany
Interests) in the U.S. Debtors that are outstanding immediately prior to the Effective Date.

       1.78. Fee Claim means a Claim by a Professional Person for compensation,
indemnification or reimbursement of expenses pursuant to sections 327, 328, 330, 331, 503(b) or
1103(a) of the Bankruptcy Code in connection with the Chapter 11 Cases, including in
connection with final fee applications of such Professional Persons.

        1.79. Final Order means an order, ruling or judgment of the Bankruptcy Court (or
other court of competent jurisdiction, including the Canadian Court) entered by the Clerk of the
Bankruptcy Court on the docket in the Chapter 11 Cases (or by the clerk of such other court of
competent jurisdiction on the docket of such court), which has not been reversed, vacated, or
stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new trial,
reargument, or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceeding for a new trial, reargument, or rehearing shall then be pending or (b) if an appeal,
writ of certiorari, new trial, reargument, or rehearing thereof has been sought, such order or
judgment of the Bankruptcy Court (or other court of competent jurisdiction, including the
Canadian Court) shall have been affirmed by the highest court to which such order was appealed,
or certiorari shall have been denied, or a new trial, reargument, or rehearing shall have been


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denied or resulted in no modification of such order, and the time to take any further appeal,
petition for certiorari, or move for a new trial, reargument, or rehearing shall have expired;
provided, that no order or judgment shall fail to be a Final Order solely because of the possibility
that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rules in
connection with the Canadian Proceeding, has been or may be filed with respect to such order or
judgment; provided, further, that no order or judgment shall fail to be a Final Order solely
because of the susceptibility of a Claim to a challenge under section 502(j) of the Bankruptcy
Code.

       1.80.   Final Purchase Price has the meaning set forth in the Plan Funding Agreement.

       1.81. First Lien Administrative Agent means Cerberus Business Finance, LLC, or its
successors and assigns, in its capacity as collateral agent and administrative agent for the First
Lien Lenders under the First Lien Financing Agreement.

        1.82. First Lien Financing Agreement means the Financing Agreement, dated as of
May 24, 2016 (as amended, modified or supplemented from time to time), among the U.S.
Borrowers and the Canadian Borrowers, as borrowers, the other Debtors as guarantors, the First
Lien Administrative Agent and the First Lien Lenders, including all agreements, documents,
notes, instruments and any other agreements delivered pursuant thereto or in connection
therewith (in each case, as amended, modified or supplemented from time to time).

        1.83. First Lien Financing Facility means the prepetition loan facility consisting of the
First Lien Revolving Loans and the First Lien Term Loan provided to the Debtors pursuant to the
First Lien Financing Agreement.

      1.84. First Lien Lender means a First Lien Revolving Loan Lender and/or a First Lien
Term Loan Lender.

        1.85. First Lien Lender Claim means all First Lien Term Loan Claims against any
Debtor related to, arising under, or in connection with, the First Lien Financing Facility and the
First Lien Financing Agreement which shall be Allowed on the Effective Date in the aggregate
principal amount of $105,000,000, plus (x) accrued and unpaid interest at the default rate to the
Petition Date, (y) postpetition interest at the non-default rate from the Petition Date to the 45th
day after the Petition Date and at the default rate thereafter to the Effective Date, and (z) the First
Lien Lender Fee Claim.

       1.86. First Lien Lender Distribution means Cash in an amount equal to the amount of
the Allowed First Lien Lender Claim.

       1.87. First Lien Lender Fee Claim means the reasonable and documented out-of-
pocket fees and expenses incurred by the First Lien Administrative Agent, and the First Lien
Lenders who are party to the RSA (and remain party thereto on the Effective Date) (including
those of Schulte Roth & Zabel LLP and McMillan LLP) incurred under the First Lien Financing
Agreement, which Claims shall be Allowed on the Effective Date.




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       1.88. First Lien Revolving Loan Lender means any lender, in its capacity as such, with
a revolving credit commitment or a revolving loan under the First Lien Financing Facility
pursuant to the First Lien Financing Agreement, and its successors and assigns.

       1.89. First Lien Revolving Loans means (a) the U.S. Revolving Loans and (b) the
Canadian Revolving Loans, in each case, made at any time and from time to time during the term
of and pursuant to the First Lien Financing Agreement, in the outstanding aggregate principal
amount as of February 24, 2017 of $37,000,000.

      1.90. First Lien Term Loan means the term loan in the principal amount of
$105,000,000 made pursuant to the First Lien Financing Agreement.

       1.91. First Lien Term Loan Lender means any lender, in its capacity as such, with a
term loan commitment or a term loan under the First Lien Financing Facility pursuant to the First
Lien Financing Agreement, and its successors and assigns.

       1.92.   Good Faith Deposit has the meaning set forth in the Plan Funding Agreement.

        1.93. Intercompany Claim means any Claim, Cause of Action, or remedy held by or
asserted against a Debtor by another Debtor.

       1.94.   Intercompany Interest means any Interest held by a Debtor in another Debtor.

        1.95. Interest means the interest (whether legal, equitable, contractual or otherwise) of
any holders of any class of equity securities of any of the Debtors, represented by shares of
common or preferred stock or other instruments evidencing an ownership interest in any of the
Debtors, whether or not certificated, transferable, voting or denominated “stock” or a similar
security, or any option, warrant or right, contractual or otherwise, to acquire any such interest.

        1.96. Key Employees means those employees, each of whom is an insider (as such term
is defined in section 101(31) of the Bankruptcy Code), that shall be set forth on a list to be
contained in the Plan Supplement.

       1.97.   Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

       1.98.   New Boards means the initial boards of each of the Acquired Debtors.

      1.99. New Equity Interests means the membership units of Reorganized CACH and
Reorganized CACV of Colorado, and the common stock of Reorganized SquareTwo Financial
Canada Corporation.

        1.100. Other Secured Claim means any Secured Claim against a Debtor other than a
First Lien Lender Claim, a 1.25 Lien Lender Claim, a 1.5 Lien Lender Claim or a Second Lien
Lender Claim.

        1.101. Person means any individual, corporation, partnership, association, indenture
trustee, limited liability company, cooperative, organization, joint stock company, joint venture,



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estate, fund, trust, unincorporated organization, governmental unit or any political subdivision
thereof, or any other entity or organization of whatever nature.

         1.102. Petition Date means the date on which the Debtors commence the Chapter 11
Cases.

         1.103. Plan means this joint prepackaged chapter 11 plan proposed by the Debtors,
including, without limitation, the exhibits, supplements, appendices and schedules hereto, either
in its present form or as the same may be altered, amended or modified from time to time in
accordance with the provisions of the Bankruptcy Code, the Plan Funding Agreement, and the
terms hereof. If the Plan is withdrawn as the Plan for a particular Debtor, the defined term
“Plan” shall not include the plan of reorganization or liquidation for such Debtor in its Chapter
11 Case where the context otherwise requires.

       1.104. Plan Administrator means such Person designated by the Debtors, with the
consent of the Required Consenting 1.5 Lien Lenders, and approved by the Bankruptcy Court as
Plan Administrator pursuant to Article VII of this Plan, or any successor appointed pursuant to
the Plan Administrator Agreement.

        1.105. Plan Administrator Agreement means the agreement governing, among other
things, the retention and duties of the Plan Administrator, as described in Section 7.12 of this
Plan, which shall be in form and substance acceptable to the Debtors and the Required
Consenting 1.5 Lien Lenders and as contained in the Plan Supplement.

         1.106. Plan Administrator Expenses means all actual and necessary costs and expenses
incurred on and after the Effective Date in connection with the Wind Down and the
administration of this Plan, including, but not limited to, the Debtors’ costs, expenses and legal
fees incurred related to: (a) making Distributions in accordance with and otherwise administering
this Plan; (b) merging and/or dissolving the Dissolving Debtors; (c) winding down the
Dissolving Debtors’ Estates; (d) performing the duties set forth in Section 7.12 of this Plan and
the Plan Administrator Agreement; and (e) paying all fees payable pursuant to section 1930 of
title 28 of the United States Code with respect to the Dissolving Debtors.

        1.107. Plan Consideration means, with respect to any Class of Claims entitled to
distributions under this Plan, Cash.

         1.108. Plan Distributions means the Plan Consideration distributed under this Plan.

        1.109. Plan Documents means the documents, other than this Plan, to be executed,
delivered, assumed, and/or performed in connection with the consummation of this Plan,
including the documents to be included in the Plan Supplement and any and all exhibits to this
Plan and the Disclosure Statement, including the Plan Funding Agreement, each of which shall
be in form and substance acceptable to each of those parties as set forth in the RSA and, unless
expressly set forth herein, subject to the consent rights set forth in the RSA.

      1.110. Plan Funding Agreement means the Plan Funding Agreement, dated as of
March 3, 2017 among SquareTwo, Collect America of Canada, LLC and the Plan Investor (as



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may be amended, modified and/or supplemented from time to time in accordance with its terms),
and attached as Exhibit B to the RSA.

         1.111. Plan Investor means Resurgent Holdings LLC, on behalf of one or more of its
affiliates.

        1.112. Plan Supplement means the supplemental appendix to this Plan (as may be
amended, modified and/or supplemented from time to time), to be filed no later than five (5)
calendar days prior to the deadline for filing objections to this Plan or such other earlier or later
date(s) as expressly set forth in this Plan, which may contain, among other things, draft forms,
signed copies, or summaries of material terms, as the case may be, of (a) the Amended
Certificates of Formation, (b) the list of proposed officers and directors, members, managers or
managing members of each of the Reorganized Debtors, (c) a list of the individuals who will
serve in certain senior management positions of each of the Reorganized Debtors, (d) a list
containing the compensation arrangement for any insider of the Debtors who will be an officer of
a Reorganized Debtor, (e) the Plan Funding Agreement, (f) the Schedule of Assumed Contracts
and Leases, (g) the Transition Services Agreement (as defined in the Plan Funding Agreement),
(h) the Amended LLC Agreements, (i) the Post-Emergence Incentive Program and the list of the
Key Employees, (j) the Walker Stock Purchase Agreement, and (k) any additional documents
filed with the Bankruptcy Court before the Effective Date as amendments to the Plan
Supplement; provided, that, unless consent rights are otherwise expressly set forth in this Plan,
each of the documents in the Plan Supplement (whether or not set forth above), including any
alternation, restatement, modification or replacement thereto, shall be in form and substance
consistent with the RSA and the consent rights set forth therein.

       1.113. Post-Closing Purchase Price Adjustment means the post-closing purchase price
adjustment as more fully set forth in the Plan Funding Agreement.

       1.114. Post-Emergence Bonuses means the bonuses to be paid by Wind Down Co to the
Key Employees pursuant to the Post-Emergence Incentive Program in an amount not to exceed
$1,460,000 in the aggregate.

       1.115. Post-Emergence Incentive Program means the incentive program that provides
for payment of bonuses to the Key Employees, which will be filed as part of the Plan
Supplement.

        1.116. Pre-Effective Date PA Duties has the meaning set forth in Section 7.12(a) of this
Plan.

        1.117. Prepetition Secured Lender Claims means the First Lien Lender Claims, the 1.25
Lien Lender Claims and the 1.5 Lien Lender Claims (in each case to the extent of the value of
the collateral securing such Claim).

      1.118. Priority Non-Tax Claim means any Claim, other than a DIP Claim, an
Administrative Expense Claim, a Fee Claim or a Priority Tax Claim, entitled to priority in
payment as specified in section 507(a) of the Bankruptcy Code.




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        1.119. Priority Tax Claim means any Claim of a governmental unit (as defined in
section 101(27) of the Bankruptcy Code) of the kind entitled to priority in payment under
sections 502(i) and 507(a)(8) of the Bankruptcy Code.

        1.120. Professional Person(s) means all Persons retained by order of the Bankruptcy
Court in connection with the Chapter 11 Cases, pursuant to sections 327, 328, 363, or 1103 of
the Bankruptcy Code, excluding any ordinary course professionals retained pursuant to an order
of the Bankruptcy Court.

       1.121. Pro Rata Share means with respect to any distribution on account of an Allowed
Claim, a distribution equal in amount to the ratio (expressed as a percentage) that the amount of
such Allowed Claim bears to the aggregate amount of all Allowed Claims in its Class.

       1.122. Purchase Price means Cash in an amount equal to the Final Purchase Price (as
defined in the Plan Funding Agreement).

         1.123. Released Parties means, collectively, and each solely in its capacity as such:
(a) the Debtors and Reorganized Debtors (including the Acquired Debtors and the Dissolving
Debtors); (b) the DIP Administrative Agent and the DIP Lenders; (c) the First Lien
Administrative Agent; (d) the 1.25 Lien Administrative Agent; (e) the 1.5 Lien Administrative
Agent; (f) the Consenting Lenders; (g) the Plan Investor; (h) the Creditors’ Committee (if any)
and each of its members solely in their capacity as members of the Creditors’ Committee; and
(i) each of such parties’ respective predecessors, successors, assigns, subsidiaries, owners,
affiliates, managed accounts or funds and their current and former officers, directors, managers,
managing members, employees (other than with respect to (1) money borrowed from or owed to
the Debtors by any such employees as set forth in any of the Debtor’s books and records, or
(2) any obligations owed by such employees to such Debtor or pursuant to written agreement),
managers, members, principals, shareholders, agents, advisory board members, management
companies, fund advisors, partners, attorneys, financial advisors or other professionals or
representatives, together with their successors and assigns; provided, however, that such
attorneys and professional advisors shall only include those that provided services related to the
Chapter 11 Cases or the Canadian Proceeding and the transactions contemplated by this Plan;
provided, further, that no Person shall be a Released Party if it objects to the releases provided
for in Article XII of this Plan.

        1.124. Remaining Cash means the amount of Cash of the Debtors as of the Effective
Date plus any Cash received by Wind Down Co or the other Dissolving Debtors thereafter plus
Cash equal to the Purchase Price, minus each of: (a) the First Lien Lender Distribution, (b) the
1.25 Lien Lender Distribution, (d) all Allowed Administrative Expense Claims, (e) all Allowed
Other Secured Claims to the extent paid in Cash, (f) all Allowed DIP Claims, (g) all Allowed
Priority-Tax Claims, (h) all Allowed Priority Non-Tax Claims, (i) the 1.5 Lien Lender Fee
Claim, (j) all Allowed Fee Claims, and (k) all amounts required to fund the Wind Down Costs,
and in all instances, excluding all Canadian Claims and all Assumed U.S. Liabilities. After
payment in full of each of the foregoing and the issuance of a final decree closing each of the
Chapter 11 Cases, any amounts remaining in the Wind Down Account shall be distributed to the
holders of the 1.5 Lien Lender Claims as of the Effective Date.



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        1.125. Reorganized CACH means CACH, LLC on and after the Effective Date, after
giving effect to the restructuring transactions occurring on the Effective Date in accordance with
this Plan.

        1.126. Reorganized CACV of Colorado means CACV of Colorado, LLC on and after
the Effective Date, after giving effect to the restructuring transactions occurring on the Effective
Date in accordance with this Plan.

       1.127. Reorganized Debtor(s) means, as the context requires, the applicable Acquired
Debtor(s), the Dissolving Debtor(s) or any successors thereto by merger, consolidation or
otherwise, on and after the Effective Date, after giving effect to the restructuring transactions
occurring on the Effective Date in accordance with this Plan.

        1.128. Reorganized SquareTwo Financial Canada Corporation means SquareTwo
Financial Canada Corporation on and after the Effective Date, after giving effect to the
restructuring transactions occurring on the Effective Date in accordance with this Plan.

       1.129. Required Consenting Lenders means the Required Consenting Lenders as
defined in the RSA.

       1.130. Required Consenting 1.5 Lien Lenders means the 1.5 Lien Lenders party to the
RSA that hold at least 66 2/3% of the principal amount of the obligations under the 1.5 Lien
Credit Agreement.

       1.131. Required Parties means the Required Consenting Lenders and the Plan Investor.

        1.132. RSA means the Restructuring Support Agreement, dated as of March 3, 2017,
inclusive of all exhibits thereto, by and among the Debtors, the Consenting Lenders, the Plan
Investor, and any other Person that may become a party to such agreement pursuant to its terms,
as the same may be amended from time to time in accordance with its terms.

       1.133. Run Off D&O Policy has the meaning set forth in Section 12.10(b) of this Plan.

       1.134. Schedule of Assumed Contracts and Leases means a schedule of the contracts
and leases to be assumed or assumed and assigned pursuant to section 365 of the Bankruptcy
Code and Section 10.1 of this Plan, which shall initially be filed by the Debtors (as designated by
the Plan Investor) no later than seven (7) days after the Petition Date, as such schedule may be
amended from time to time thereafter as required by the Plan Investor.

       1.135. Second Lien Indenture means the Indenture, dated as of April 7, 2010, by and
between SquareTwo, as issuer, the guarantors named therein, and the Second Lien Trustee,
including all agreements, documents, notes, instruments and any other agreements delivered
pursuant thereto or in connection therewith (in each case, as amended, modified or supplemented
from time to time).

       1.136. Second Lien Lender means any holder, in its capacity as such, of Second Lien
Notes pursuant to the Second Lien Indenture.



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        1.137. Second Lien Lender Claim means all Claims against any Debtor, related to,
arising under, on in connection with, the Second Lien Indenture and the Second Lien Notes.

        1.138. Second Lien Notes means the 11.625% Senior Second Lien Notes due 2017
issued pursuant to the Second Lien Indenture.

       1.139. Second Lien Trustee means U.S. Bank National Association, or its successors
and assigns, in its capacity as trustee and collateral agent for the Second Lien Lenders under the
Second Lien Indenture.

        1.140. Secured Claim means a Claim: (a) that is secured by a valid, perfected and
enforceable Lien on Collateral, to the extent of the value of the Claim holder’s interest in such
Collateral as of the Confirmation Date; (b) to the extent that the holder thereof has a valid right
of setoff pursuant to section 553 of the Bankruptcy Code; or (c) against a Canadian Debtor that is
a valid trust, lien or other priority claim under Canadian law.

       1.141. Securities Act means the Securities Act of 1933, as amended.

       1.142. SquareTwo means SquareTwo Financial Corporation, a Delaware corporation.

      1.143. SquareTwo Financial Services means SquareTwo Financial Services
Corporation d/b/a Fresh View Solutions, a Delaware corporation.

        1.144. Subsidiary means any corporation, association or other business entity of which at
least the majority of the securities or other ownership interest is owned or controlled by
SquareTwo and/or one or more subsidiaries of SquareTwo.

        1.145. Transaction Documents means this Plan, the Plan Funding Agreement, the RSA,
the TSA, and each other contract, exhibit, schedule, certificate and other document being
delivered pursuant to, or in furtherance of the transactions contemplated by this Plan, the Plan
Funding Agreement or the RSA.

        1.146. TSA means the transition services agreement entered into contemporaneously
with the execution and delivery of the Plan Funding Agreement between and among the Plan
Investor, Resurgent Capital Services L.P, as the Master Servicer, SquareTwo Financial Services,
as the Service Provider, and the Plan Administrator or other authorized representative of the
Dissolving Debtors, as applicable (as the same may be amended, restated, supplemented and/or
otherwise modified from time to time in accordance with its terms), a form of which shall be
included in the Plan Supplement.

       1.147. U.S. Borrowers means each of SquareTwo, SquareTwo Financial Services, and
Debtor CACH LLC, as borrowers under the First Lien Financing Agreement.

       1.148. U.S. Debtor means any Debtor that is not a Canadian Debtor.

        1.149. U.S. General Unsecured Claim means any Claim against a U.S. Debtor other
than: (a) a First Lien Lender Claim; (b) a 1.25 Lien Lender Claim; (c) a 1.5 Lien Lender Claim;
(d) an Other Secured Claim; (e) a Second Lien Lender Claim; (f) a DIP Claim; (g) an


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Administrative Expense Claim; (h) a Fee Claim; (i) a Priority Tax Claim; (j) a Priority Non-Tax
Claim; (k) an Intercompany Claim; and (l) U.S. Trustee Fees.

      1.150. U.S. Revolving Loans means the revolving loans made by the First Lien
Revolving Loan Lenders to the U.S. Borrowers made pursuant to the First Lien Financing
Agreement.

       1.151. U.S. Trustee means the United States Trustee for Region 2.

        1.152. U.S. Trustee Fees means fees arising under 28 U.S.C. § 1930(a)(6) and, to the
extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

       1.153. Walker Stock Purchase Agreement means that certain Stock Purchase
Agreement, dated March 3, 2017, between Christopher D. Walker, the President and Chief
Executive Officer of Canadian Debtor SquareTwo Financial Canada Corporation, and
SquareTwo Financial Canada Corporation, whereby, among other things, SquareTwo Financial
Canada Corporation shall repurchase all equity securities of Canadian Debtor CCL Financial Inc.
from Mr. Walker.

       1.154. Wind Down means the implementation of this Plan and the wind down of the
Dissolving Debtors in accordance with this Plan, as more fully set forth in Article VII of this
Plan.

        1.155. Wind Down Account means the account to be established by SquareTwo on or
prior to the Effective Date to be used to effect the Wind Down, which account shall be funded in
an amount determined by the Debtors, with the consent of the Required Consenting 1.5 Lien
Lenders (not to be unreasonably withheld, delayed or conditioned), prior to the Effective Date.

       1.156. Wind Down Co means SquareTwo on and after the Effective Date.

         1.157. Wind Down Costs includes the fees and expenses incurred by the Dissolving
Debtors following the Effective Date (including reasonable fees and expenses of attorneys and
other professionals) for the purpose of: (i) effectuating distributions to holders of Allowed
Claims, including any payments to be made under any Bankruptcy Court approved key employee
incentive program and/or severance program; (ii) resolving Disputed Claims, if any;
(iii) satisfying the Dissolving Debtors’ obligations under Section 12.10(a) of this Plan;
(iv) paying the Plan Administrator Expenses; (v) otherwise implementing this Plan, the Plan
Funding Agreement, the TSA, the Escrow Agreement, the Wind Down and the closing of the
Chapter 11 Cases; and (vi) undertaking such other matters relating to implementation of the Plan
as are deemed necessary and appropriate by Wind Down Co.

               B.      Interpretation; Application of Definitions and Rules of Construction.

                Unless otherwise specified, all section or exhibit references in this Plan are to the
respective section in, or exhibit to, this Plan. The words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to this Plan as a whole and not to any
particular section, subsection, or clause contained therein. Whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular


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and the plural. Any term that is not otherwise defined herein, but that is used in the Bankruptcy
Code or the Bankruptcy Rules, shall have the meaning given to that term in the Bankruptcy Code
or the Bankruptcy Rules, as applicable. The rules of construction contained in section 102 of the
Bankruptcy Code, other than section 102(5), shall apply to the construction of this Plan. Any
reference in this Plan to an existing document or exhibit filed or to be filed means such document
or exhibit as it may have been or may be amended, modified, or supplemented, with the consent
of the applicable Required Parties as set forth herein or in the RSA and the Debtors (except as
otherwise expressly set forth in this Article I). Subject to the provisions of any contracts,
certificates or articles of incorporation, instruments, releases, or other agreements or documents
entered into in connection with this Plan, the rights and obligations arising under this Plan shall
be governed by, and construed and enforced in accordance with, federal law, including the
Bankruptcy Code and Bankruptcy Rules. The captions and headings in this Plan are for
convenience of reference only and shall not limit or otherwise affect the provisions hereof. Any
reference to an entity as a holder of a Claim or Interest includes that entity’s successors and
assigns. Any reference to directors or board of directors includes managers, managing members
or any similar governing body, as the context requires.

               C.      Appendices and Plan Documents.

                All Plan Documents and appendices to this Plan are incorporated into this Plan by
reference and are a part of this Plan as if set forth in full herein. The documents contained in the
exhibits and Plan Supplement shall be approved by the Bankruptcy Court pursuant to the
Confirmation Order. Holders of Claims and Interests may inspect a copy of the Plan Documents,
once filed, in the Office of the Clerk of the Bankruptcy Court during normal business hours, or
via the Claims Agent’s website at http://cases.primeclerk.com/squaretwo, or obtain a copy of any
of the Plan Documents by a written request sent to the Claims Agent at the following address:

                                 SquareTwo Ballot Processing
                                     c/o Prime Clerk LLC
                                 830 Third Avenue, 3rd Floor
                                 New York, New York 10022
                         Phone: 844-205-4337 (U.S. & Canada toll free)
                                or 917-962-8384 (international)

                                          ARTICLE II.

              CERTAIN INTER-CREDITOR AND INTER-DEBTOR ISSUES

       2.1.    Settlement of Certain Inter-Creditor Issues.

                 The treatment of Claims and Interests under this Plan represents, among other
things, the settlement and compromise of certain potential inter-creditor disputes.

       2.2.    Formation of Debtor Groups for Convenience Purposes.

               The Plan groups the Debtors together solely for purposes of describing treatment
under the Plan, confirmation of the Plan and making Plan Distributions in respect of Claims
against and Interests in the Debtors under the Plan. Such groupings shall not affect any Debtor’s


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status as a separate legal entity, change the organizational structure of the Debtors’ business
enterprise, constitute a change of control of any Debtor for any purpose, cause a merger or
consolidation of any legal entities, nor cause the transfer of any assets or the assumption of any
liabilities; and, except as otherwise provided by or permitted in the Plan, all Debtors shall
continue to exist as separate legal entities.

       2.3.    Intercompany Claims and Intercompany Interests .

               (a)     Intercompany Claims.

                       (i)     Wind Down Co. Notwithstanding anything to the contrary herein,
       on or after the Effective Date, any and all Intercompany Claims between and among the
       Dissolving Debtors shall, at the option of Wind Down Co, either be (i) extinguished,
       canceled and/or discharged on the Effective Date or (ii) reinstated and otherwise survive
       the Debtors’ restructuring by virtue of such Intercompany Claims being left unimpaired.
       To the extent any such Intercompany Claim is reinstated, or otherwise adjusted
       (including by contribution, distribution in exchange for new debt or equity, or otherwise),
       paid or continued as of the Effective Date, any such transaction may be effected on or
       after the Effective Date without any further action by the Bankruptcy Court, act or action
       under applicable law, regulation, order or rule or the vote, consent, authorization or
       approval of any Person.

                       (ii)    Acquired Debtors. Notwithstanding anything to the contrary
       herein, on or after the Effective Date, any and all Intercompany Claims between and
       among the Acquired Debtors shall, at the option of the Plan Investor, either be
       (i) extinguished, canceled and/or discharged on the Effective Date or (ii) reinstated and
       otherwise survive the Debtors’ restructuring by virtue of such Intercompany Claims
       being left unimpaired. To the extent any such Intercompany Claim is reinstated, or
       otherwise adjusted (including by contribution, distribution in exchange for new debt or
       equity, or otherwise), paid or continued as of the Effective Date, any such transaction
       may be effected on or after the Effective Date without any further action by the
       Bankruptcy Court, act or action under applicable law, regulation, order or rule or the
       vote, consent, authorization or approval of any Person.

                      (iii) Intercompany Claims by and/or among the Dissolving Debtors and
       the Acquired Debtors. Notwithstanding anything to the contrary herein, on or after the
       Effective Date, any and all Intercompany Claims between and/or among any of the
       Acquired Debtors, on the one hand, and any of the Dissolving Debtors, on the other hand,
       shall be extinguished, canceled and/or discharged on the Effective Date.

               (b)     Intercompany Interests.

                Notwithstanding anything to the contrary herein, on or after the Effective Date,
any and all Intercompany Interests shall: (i) as to the Acquired Debtors, survive the Debtors’
restructuring by virtue of such Intercompany Interests being left unimpaired to maintain the
existing corporate structure of the Acquired Debtors subject to the terms of this Plan, and (ii) as
to the Dissolving Debtors, subject to section 7.7(c) of this Plan, survive the Debtors’



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restructuring by virtue of such Intercompany Interests being left unimpaired to maintain the
existing corporate structure of the Dissolving Debtors subject to the terms of this Plan.

                                         ARTICLE III.

               DIP CLAIMS, ADMINISTRATIVE EXPENSE CLAIMS,
          FEE CLAIMS, U.S. TRUSTEE FEES AND PRIORITY TAX CLAIMS

                The Plan constitutes a joint plan of reorganization for all of the Debtors. All
Claims and Interests, except DIP Claims, Administrative Expense Claims, Fee Claims, U.S.
Trustee Fees and Priority Tax Claims, are placed in the Classes set forth in Article IV below. In
accordance with section 1123(a)(1) of the Bankruptcy Code, DIP Claims, Administrative
Expense Claims, Fee Claims, U.S. Trustee Fees and Priority Tax Claims have not been
classified, and the holders thereof are not entitled to vote on this Plan. A Claim or Interest is
placed in a particular Class only to the extent that such Claim or Interest falls within the
description of that Class and is classified in other Classes to the extent that any portion of the
Claim or Interest falls within the description of such other Classes.

               A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation and distribution under this Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code. However, a Claim or Interest is placed in a particular Class for the
purpose of receiving Plan Distributions only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest and has not been paid, released or otherwise settled prior to
the Effective Date.

       3.1.    DIP Claims.

               On the Effective Date, the DIP Claims shall be Allowed and shall not be subject
to any avoidance, reductions, setoff, offset, recoupment, recharacterization, subordination
(whether equitable, contractual, or otherwise), counterclaims, cross-claims, defenses,
disallowance, impairment, objection, or any other challenges under any applicable law or
regulation by any Person. In full satisfaction, settlement, release and discharge of the Allowed
DIP Claims, on the Effective Date, all Allowed DIP Claims shall be indefeasibly paid in full in
Cash from the proceeds of the Closing Purchase Price. Upon payment in full of all Allowed DIP
Lender Claims, all Liens and security interests granted to secure such obligations, whether in the
Chapter 11 Cases or otherwise, shall be terminated and of no further force or effect.

       3.2.    Administrative Expense Claims.

               (a)    Time for Filing Administrative Expense Claims.

               The holder of an Administrative Expense Claim, other than the holder of:

                      (i)     a Fee Claim;

                      (ii)    a DIP Claim;

                      (iii)   a Consenting Lender Fee Claim;


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                      (iv)   an Administrative Expense Claim that has been Allowed on or
       before the Effective Date;

                      (v)     an Administrative Expense Claim for an expense or liability
       incurred and payable in the ordinary course of business by a Debtor, including, an
       Administrative Expense Claim that is a Canadian Claim and/or an Assumed U.S.
       Liability (which Canadian Claim and/or Assumed U.S. Liability shall be satisfied by the
       applicable Acquired Debtor in accordance with the terms of this Plan and the terms of the
       Plan Funding Agreement); for the avoidance of doubt, an Administrative Expense Claim
       must be filed for any non-ordinary course litigation Claims;

                      (vi)     an Administrative Expense Claim on account of fees and expenses
       incurred on or after the Petition Date by ordinary course professionals retained by the
       Debtors pursuant to an order of the Bankruptcy Court;

                      (vii) an Administrative Expense Claim held by a current officer,
       director or employee of the Debtors for indemnification, contribution, or advancement of
       expenses pursuant to: (A) any Debtor’s certificate of incorporation, by-laws, operating
       agreement, or similar organizational document, or (B) any indemnification or
       contribution agreement approved by the Bankruptcy Court;

                      (viii) an Administrative Expense Claim arising, in the ordinary course of
       business, out of the employment by one or more Debtors of an individual from and after
       the Petition Date, but only to the extent that such Administrative Expense Claim is solely
       for outstanding wages, commissions, accrued benefits, or reimbursement of business
       expenses;

                      (ix)   a claim by the Plan Investor, or any of its affiliates, arising under
       any of the Transaction Documents against the Debtors;

                       (x)    a Claim for fees and expenses held by the Plan Investor or a
       professional person retained by the Plan Investor, to the extent the Bankruptcy Court does
       not authorize the Debtors to pay amounts owed under the preceding Article 3.2(ix)
       without first submitting an application for such fees and expenses to the Bankruptcy
       Court;

                      (xi)    an Intercompany Claim; or

                      (xii)   U.S. Trustee Fees,

must file with the Bankruptcy Court and serve on Wind Down Co, the Claims Agent, and the
U.S. Trustee, proof of such Administrative Expense Claim within thirty (30) days after the
Effective Date (the “Administrative Bar Date”). Such proof of Administrative Expense Claim
must include at a minimum: (1) the name of the applicable Debtor that is purported to be liable
for the Administrative Expense Claim and if the Administrative Expense Claim is asserted
against more than one Debtor, the exact amount asserted to be owed by each such Debtor; (2) the
name of the holder of the Administrative Expense Claim; (3) the asserted amount of the
Administrative Expense Claim; (4) the basis of the Administrative Expense Claim; and


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(5) supporting documentation for the Administrative Expense Claim. FAILURE TO FILE
AND SERVE SUCH PROOF OF ADMINISTRATIVE EXPENSE CLAIM TIMELY AND
PROPERLY SHALL RESULT IN SUCH CLAIM BEING FOREVER BARRED AND
DISCHARGED. IF FOR ANY REASON ANY SUCH ADMINISTRATIVE EXPENSE
CLAIM IS INCAPABLE OF BEING FOREVER BARRED AND DISALLOWED, THEN
THE HOLDER OF SUCH CLAIM SHALL IN NO EVENT HAVE RECOURSE TO ANY
PROPERTY TO BE DISTRIBUTED PURSUANT TO THE PLAN.

               (b)    Treatment of Administrative Expense Claims.

                Except to the extent that a holder of an Allowed Administrative Expense Claim
agrees to a different treatment, on the applicable Distribution Date, or as soon thereafter as is
reasonably practicable, the holder of such Allowed Administrative Expense Claim shall receive
Cash to be paid by Wind Down Co, in an amount equal to such Allowed Claim; provided,
however, that Allowed Administrative Expense Claims representing liabilities incurred in the
ordinary course of business by any of the Debtors, as debtors in possession, shall be paid in the
ordinary course of business, consistent with past practice and in accordance with the terms and
subject to the conditions of any orders or agreements governing, instruments evidencing, or other
documents relating to, such liabilities; provided, further, however, that any Administrative
Expense Claim that is a Canadian Claim and/or an Assumed U.S. Liability shall be satisfied by
the applicable Acquired Debtor and the applicable Acquired Debtor shall be solely responsible
therefor in accordance with the terms of this Plan and the Plan Funding Agreement and the
holder thereof shall have no recourse against the Dissolving Debtors or the Plan Administrator or
any of their property on account of such Administrative Expense Claim.

       3.3.    Fee Claims.

               (a)    Time for Filing Fee Claims.

                Any Professional Person seeking allowance of a Fee Claim shall file, with the
Bankruptcy Court, its final application for allowance of compensation for services rendered and
reimbursement of expenses incurred prior to the Effective Date and in connection with the
preparation and prosecution of such final application no later than forty-five (45) calendar days
after the Effective Date or such other date as established by the Bankruptcy Court. Objections to
such Fee Claims, if any, must be filed and served pursuant to the procedures set forth in the
Confirmation Order no later than sixty-five (65) calendar days after the Effective Date or such
other date as established by the Bankruptcy Court.

               (b)    Treatment of Fee Claims.

                All Professional Persons seeking allowance by the Bankruptcy Court of a Fee
Claim shall be paid in full in Cash by Wind Down Co in such amounts as are approved by the
Bankruptcy Court: (i) upon the later of (x) the Effective Date, and (y) three (3) calendar days
after the date upon which the order relating to the allowance of any such Fee Claim is entered, or
(ii) upon such other terms as may be mutually agreed upon between the holder of such Fee Claim
and Wind Down Co. On the Effective Date, to the extent known, Wind Down Co shall reserve
and hold in a segregated account Cash in an amount equal to all accrued but unpaid Fee Claims



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as of the Effective Date, which Cash shall be disbursed solely to the holders of Allowed Fee
Claims with the remainder to be reserved until all Fee Claims have been either Allowed and paid
in full or Disallowed by Final Order, at which time any Remaining Cash in the segregated
account shall be deposited into the Wind Down Account and used by Wind Down Co for
purposes of the Wind Down.

       3.4.    U.S. Trustee Fees.

               Wind Down Co shall pay all outstanding U.S. Trustee Fees of the Dissolving
Debtors on an ongoing basis, and of the Acquired Debtors incurred through the Effective Date,
on the date such U.S. Trustee Fees become due, until such time as a final decree is entered
closing the applicable Chapter 11 Case, the applicable Chapter 11 Case is converted or
dismissed, or the Bankruptcy Court orders otherwise.

       3.5.    Priority Tax Claims.

               (a)    Time for Filing Priority Tax Claims.

               The holder of a Priority Tax Claim, other than a holder of a Priority Tax Claim
that is a Canadian Claim and/or an Assumed U.S. Liability (which shall be satisfied by the
applicable Acquired Debtor in accordance with the terms of this Plan and the Plan Funding
Agreement), must file with the Bankruptcy Court and serve on Wind Down Co, the Claims
Agent, and the U.S. Trustee, proof of such Priority Tax Claim within 180 days after the
Petition Date (the “Priority Tax Claims Bar Date”). Such proof of Priority Tax Claim must
include at a minimum: (1) the name of the applicable Debtor that is purported to be liable for the
Priority Tax Claim and if the Priority Tax Claim is asserted against more than one Debtor, the
exact amount asserted to be owed by each such Debtor; (2) the name of the holder of the Priority
Tax Claim; (3) the asserted amount of the Priority Tax Claim; (4) the basis of the Priority Tax
Claim; and (5) supporting documentation for the Priority Tax Claim. FAILURE TO FILE
AND SERVE SUCH PROOF OF PRIORITY TAX CLAIM TIMELY AND PROPERLY
SHALL RESULT IN SUCH CLAIM BEING FOREVER BARRED AND DISCHARGED.
IF FOR ANY REASON ANY SUCH PRIORITY TAX CLAIM IS INCAPABLE OF
BEING FOREVER BARRED AND DISALLOWED, THEN THE HOLDER OF SUCH
CLAIM SHALL IN NO EVENT HAVE RECOURSE TO ANY PROPERTY TO BE
DISTRIBUTED PURSUANT TO THE PLAN.

               (b)    Treatment of Priority Tax Claims.

                Except to the extent that a holder of an Allowed Priority Tax Claim agrees to
different treatment, each holder of an Allowed Priority Tax Claim shall receive from Wind
Down Co, in Wind Down Co’s discretion, either: (a) on the applicable Distribution Date, or as
soon thereafter as is reasonably practicable, Cash in an amount equal to such Claim; or
(b) deferred Cash payments following the Effective Date, over a period ending not later than five
(5) years after the Petition Date, in an aggregate amount equal to the Allowed amount of such
Priority Tax Claim (with any interest to which the holder of such Priority Tax Claim may be
entitled calculated in accordance with section 511 of the Bankruptcy Code); provided, however,
that all Allowed Priority Tax Claims that are not due and payable on or before the Effective Date



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shall be paid in the ordinary course of business as they become due; provided, further, however,
that any Priority Tax Claim that is a Canadian Claim or an Assumed U.S. Liability shall be
satisfied by the applicable Acquired Debtor and the applicable Acquired Debtor shall be solely
responsible therefor in accordance with the terms of this Plan and the Plan Funding Agreement
and the holder thereof shall have no recourse against the Dissolving Debtors or the Plan
Administrator or any of their property on account of such Priority Tax Claim.

                                    ARTICLE IV.
                      CLASSIFICATION OF CLAIMS AND INTERESTS

          4.1.   Classification of Claims and Interests.

               The following table designates the Classes of Claims against and Interests in the
Debtors, and specifies which Classes are: (a) impaired or unimpaired by this Plan; (b) entitled to
vote to accept or reject this Plan in accordance with section 1126 of the Bankruptcy Code; or
(c) deemed to accept or reject this Plan.

     Class                 Designation                Impairment             Entitled to Vote
Class 1             Priority Non-Tax           No                         No (Deemed to accept)
                    Claims
Class 2             Other Secured Claims       No                         No (Deemed to accept)
Class 3             First Lien Lender          Yes                        Yes
                    Claims
Class 4             1.25 Lien Lender           Yes                        Yes
                    Claims
Class 5             1.5 Lien Lender Claims     Yes                        Yes
Class 6             Second Lien Lender         Yes                        No (Deemed to reject)
                    Claims
Class 7A            U.S. General Unsecured     Yes                        No (Deemed to reject)
                    Claims
Class 7B            Canadian General           No                         No (Deemed to accept)
                    Unsecured Claims
Class 8A            Existing U.S. Interests    Yes                        No (Deemed to reject)
Class 8B            Existing Canadian          No                         No (Deemed to accept)
                    Interests

                If a controversy arises regarding whether any Claim is properly classified under
the Plan, the Bankruptcy Court shall, upon proper motion and notice, determine such controversy
at the Confirmation Hearing. If the Bankruptcy Court finds that the classification of any Claim
is improper, then such Claim shall be reclassified and the Ballot previously cast by the holder of
such Claim shall be counted in, and the Claim shall receive the treatment prescribed in, the Class
in which the Bankruptcy Court determines such Claim should have been classified, without the
necessity of resoliciting any votes on the Plan.




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        4.2.   Unimpaired Classes of Claims.

               The following Classes of Claims are unimpaired and, therefore, deemed to have
accepted this Plan and are not entitled to vote on this Plan under section 1126(f) of the
Bankruptcy Code:

               (a)    Class 1: Class 1 consists of all Priority Non-Tax Claims.

               (b)    Class 2: Class 2 consists of all Other Secured Claims.

               (c)    Class 7B: Class 7B consists of all Canadian General Unsecured Claims.

               (d)    Class 8B: Class 8B consists of all Existing Canadian Interests.

        4.3.   Impaired Classes of Claims.

               (a)    The following Classes of Claims are impaired and entitled to vote on this
Plan:

                      (i)     Class 3: Class 3 consists of all First Lien Lender Claims.

                      (ii)    Class 4: Class 4 consists of all 1.25 Lien Lender Claims.

                      (iii)   Class 5: Class 5 consists of all 1.5 Lien Lender Claims.

               (b)     The following Classes of Claims and Interests are impaired and deemed to
have rejected this Plan and, therefore, are not entitled to vote on this Plan under section 1126(g)
of the Bankruptcy Code:

                      (i)     Class 6: Class 6 consists of all Second Lien Lender Claims.

                      (ii)    Class 7A: Class 7A consists of all U.S. General Unsecured Claims.

                      (iii)   Class 8A: Class 8A consists of all Existing U.S. Interests.

        4.4.   Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature, each Other Secured Claim, to the extent secured by a Lien on Collateral different
than that securing any additional Other Secured Claims, shall be treated as being in a separate
sub-Class for the purpose of receiving Plan Distributions.




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                                          ARTICLE V.

                       TREATMENT OF CLAIMS AND INTERESTS

       5.1.    Priority Non-Tax Claims (Class 1).

                (a)    Treatment: The legal, equitable and contractual rights of the holders of
Priority Non-Tax Claims are unaltered by this Plan. Except to the extent that a holder of an
Allowed Priority Non-Tax Claim agrees to a different treatment, on the applicable Distribution
Date, each holder of an Allowed Priority Non-Tax Claim shall receive Cash to be paid by Wind
Down Co in an amount equal to such Allowed Claim; provided, however, that any Priority Non-
Tax Claim that is a Canadian Claim or an Assumed U.S. Liability shall be satisfied by the
applicable Acquired Debtor and the applicable Acquired Debtor shall be solely responsible
therefor in accordance with the terms of this Plan and the Plan Funding Agreement and the
holder thereof shall have no recourse against the Dissolving Debtors or the Plan Administrator or
any of their property on account of such Priority Non-Tax Claim.

               (b)     Voting: Priority Non-Tax Claims are not impaired Claims. In accordance
with section 1126(f) of the Bankruptcy Code, the holders of Priority Non-Tax Claims are
conclusively presumed to accept this Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such holders will not be solicited with respect to such Allowed Priority Non-Tax
Claims.

       5.2.    Other Secured Claims (Class 2).

                (a)     Treatment: The legal, equitable and contractual rights of the holders of
Other Secured Claims are unaltered by this Plan. Except to the extent that a holder of an
Allowed Other Secured Claim agrees to a different treatment, on the applicable Distribution Date
each holder of an Allowed Other Secured Claim shall receive, at the election of Wind Down Co:
(i) Cash to be paid by Wind Down Co in an amount equal to such Allowed Claim; or (ii) such
other treatment that will render such Other Secured Claim unimpaired pursuant to section 1124
of the Bankruptcy Code; provided, however, that Other Secured Claims incurred by a Debtor in
the ordinary course of business may be paid in the ordinary course of business in accordance
with the terms and conditions of any agreements relating thereto, in the discretion of Wind Down
Co, without further notice to or order of the Bankruptcy Court; provided, further, however, that
any Other Secured Claim that is a Canadian Claim or an Assumed U.S. Liability shall be
satisfied by the applicable Acquired Debtor and the applicable Acquired Debtor shall be solely
responsible therefor in accordance with the terms of this Plan and the Plan Funding Agreement
and the holder thereof shall have no recourse against the Dissolving Debtors or the Plan
Administrator or any of their property on account of such Other Secured Claim. Each holder of
an Allowed Other Secured Claim shall retain the Liens securing its Allowed Other Secured
Claim as of the Effective Date until full and final satisfaction of such Allowed Other Secured
Claim is made as provided herein. On the full payment or other satisfaction of each Allowed
Other Secured Claim in accordance with the Plan, the Liens securing such Allowed Other
Secured Claim shall be deemed released, terminated and extinguished, in each case without
further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order or rule or the vote, consent, authorization or approval of any Person.


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                (b)     Deficiency Claims: To the extent that the value of the Collateral securing
any Other Secured Claim is less than the Allowed amount of such Other Secured Claim, the
undersecured portion of such Allowed Claim shall be treated for all purposes under this Plan as a
U.S. General Unsecured Claim or Canadian General Unsecured Claim, but only as applicable,
and shall be classified and treated as a Class 7A Claim or 7B Claim, but only as applicable.

               (c)     Voting: The Other Secured Claims are not impaired Claims. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Other Secured Claims
are conclusively presumed to accept this Plan and are not entitled to vote to accept or reject the
Plan, and the votes of such holders will not be solicited with respect to such Allowed Other
Secured Claims.

       5.3.    First Lien Lender Claims (Class 3).

                (a)      Treatment: On the Effective Date, First Lien Lender Claims shall be
Allowed under this Plan, and shall not be subject to any avoidance, reductions, setoff, offset,
recoupment, recharacterization, subordination (whether equitable, contractual, or otherwise),
counterclaims, cross-claims, defenses, disallowance, impairment, objection, or any other
challenges under any applicable law or regulation by any Person. Except to the extent that the
First Lien Administrative Agent or a holder of a First Lien Lender Claim agrees to different
treatment with respect to such holder’s Claim, on the Effective Date, or as soon as practicable
thereafter, the First Lien Administrative Agent shall receive (for the benefit of itself and the First
Lien Lenders), subject to the terms of this Plan, in full and final satisfaction, settlement, release
and discharge of the First Lien Lender Claim, payment in full in Cash from Wind Down Co of
the First Lien Lender Distribution, to be distributed consistent with the First Lien Financing
Agreement. For the avoidance of doubt, all First Lien Revolving Loans outstanding as of the
Petition Date shall have been repaid indefeasibly in full in accordance with the terms of the DIP
Financing Agreement and the DIP Order, and shall be afforded the treatment provided for DIP
Claims as set forth in Section 3.1 of the Plan.

                (b)     Voting: The First Lien Lender Claims are impaired Claims. Holders of
such Claims are entitled to vote to accept or reject the Plan, and the votes of such holders will be
solicited with respect to such First Lien Lender Claims.

       5.4.    1.25 Lien Lender Claims (Class 4).

                (a)     Treatment: On the Effective Date, 1.25 Lien Lender Claims shall be
Allowed under this Plan, and shall not be subject to any avoidance, reductions, setoff, offset,
recoupment, recharacterization, subordination (whether equitable, contractual, or otherwise),
counterclaims, cross-claims, defenses, disallowance, impairment, objection, or any other
challenges under any applicable law or regulation by any Person. Except to the extent that a
holder of a 1.25 Lien Lender Claim agrees to different treatment, on the Effective Date, or as
soon as practicable thereafter, each holder of a 1.25 Lien Lender Claim shall receive, subject to
the terms of this Plan, in full and final satisfaction, release and discharge of its 1.25 Lien Lender
Claim, payment in Cash from Wind Down Co of its Pro Rata Share of the 1.25 Lien Lender
Distribution.




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                (b)     Voting: The 1.25 Lien Lender Claims are impaired Claims. Holders of
such Claims are entitled to vote to accept or reject the Plan, and the votes of such holders will be
solicited with respect to such 1.25 Lien Lender Claims.

       5.5.    1.5 Lien Lender Claims (Class 5).

                 (a)    Treatment: On the Effective Date, 1.5 Lien Lender Claims shall be
Allowed under this Plan in an amount equal to the total amount of principal, accrued and unpaid
interest at the non-default rate, if any, to the Petition Date, and shall not be subject to any
avoidance, reductions, setoff, offset, recoupment, recharacterization, subordination (whether
equitable, contractual, or otherwise), counterclaims, cross-claims, defenses, disallowance,
impairment, objection, or any other challenges under any applicable law or regulation by any
Person. Except to the extent that a holder of a 1.5 Lien Lender Claim agrees to different
treatment, on the Effective Date, or as soon as practicable thereafter, each holder of 1.5 Lien
Lender Claim shall receive, subject to the terms of this Plan, in full and final satisfaction,
settlement and release of its 1.5 Lien Lender Claim, payment in Cash from Wind Down Co of its
Pro Rata Share of the 1.5 Lien Lender Distribution.

                (b)     Voting: The 1.5 Lien Lender Claims are impaired Claims. Holders of
such Claims are entitled to vote to accept or reject the Plan, and the votes of such holders will be
solicited with respect to such 1.5 Lien Lender Claims.

       5.6.    Second Lien Lender Claims (Class 6).

                (a)     Treatment: Holders of Second Lien Lender Claims shall not receive or
retain any distribution or Lien under the Plan on account of such Second Lien Lender Claims.

                (b)     Voting: The Second Lien Lender Claims are impaired Claims. In
accordance with section 1126(g) of the Bankruptcy Code, the holders of Second Lien Lender
Claims are conclusively presumed to reject this Plan and are not entitled to vote to accept or
reject the Plan, and the votes of such holders will not be solicited with respect to such Second
Lien Lender Claims.

       5.7.    U.S. General Unsecured Claims (Class 7A).

                (a)     Treatment: Holders of U.S. General Unsecured Claims shall not receive
or retain any distribution under the Plan on account of such U.S. General Unsecured Claims.

                (b)     Voting: The U.S. General Unsecured Claims are impaired Claims. In
accordance with section 1126(g) of the Bankruptcy Code, the holders of U.S. General Unsecured
Claims are conclusively presumed to reject this Plan and are not entitled to vote to accept or
reject the Plan, and the votes of such holders will not be solicited with respect to such U.S.
General Unsecured Claims.

       5.8.    Canadian General Unsecured Claims (Class 7B).

             (a)    Treatment: Except to the extent that a holder of a Canadian General
Unsecured Claim agrees to a different treatment, each holder of a Canadian General Unsecured


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Claim shall receive, at the election of the applicable Acquired Debtor, such treatment that:
(i) leaves unaltered the legal, equitable, or contractual rights to which the holder of such Allowed
Canadian General Unsecured Claim is entitled; or (ii) otherwise leaves such Allowed Canadian
General Unsecured Claims unimpaired pursuant to section 1124 of the Bankruptcy Code.
Subject to Section 9.2 of this Plan, Canadian General Unsecured Claims incurred by an Acquired
Debtor in the ordinary course of business may be paid in the ordinary course of business in
accordance with the terms and conditions of any agreements relating thereto, in the discretion of
the applicable Acquired Debtor, without further notice to or order of the Bankruptcy Court.

                (b)     Voting: The Allowed Canadian General Unsecured Claims are not
impaired Claims. In accordance with section 1126(f) of the Bankruptcy Code, the holders of
Allowed Canadian General Unsecured Claims are conclusively presumed to accept this Plan and
are not entitled to vote to accept or reject the Plan, and the votes of such holders will not be
solicited with respect to such Allowed Canadian General Unsecured Claims.

       5.9.    Existing U.S. Interests (Class 8A).

               (a)    Treatment: Existing U.S. Interests shall be discharged, cancelled, released
and extinguished, and holders thereof shall not receive or retain any distribution under the Plan
on account of such Existing U.S. Interests.

               (b)     Voting: The Existing U.S. Interests are impaired Interests. In accordance
with section 1126(g) of the Bankruptcy Code, the holders of Existing U.S. Interests are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such holders will not be solicited with respect to such Existing U.S. Interests.

       5.10.   Existing Canadian Interests (Class 8B).

               (a)     Treatment: The legal, equitable and contractual rights of the holders of
Allowed Existing Canadian Interests are unaltered by this Plan. Except to the extent that a
holder of an Allowed Existing Canadian Interest agrees to a different treatment, on the applicable
Distribution Date, each holder of an Allowed Existing Canadian Interest shall receive such
treatment that will render such Existing Canadian Interest unimpaired pursuant to section 1124
of the Bankruptcy Code.

                (b)     Voting: The Allowed Existing Canadian Interests are not impaired
Interests. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Existing Canadian Interests are conclusively presumed to accept this Plan and are not entitled to
vote to accept or reject the Plan, and the votes of such holders will not be solicited with respect
to such Allowed Existing Canadian Interests.




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                                          ARTICLE VI.

                         ACCEPTANCE OR REJECTION OF
                     THE PLAN; EFFECT OF REJECTION BY ONE
                    OR MORE CLASSES OF CLAIMS OR INTERESTS

       6.1.    Class Acceptance Requirement.

                A Class of Claims shall have accepted the Plan if it is accepted by at least two-
thirds (2/3) in dollar amount and more than one-half (1/2) in number of holders of the Allowed
Claims in such Class that have voted on the Plan. A Class of Interests that is entitled to vote on
the Plan has accepted the Plan if it is accepted by at least two-thirds (2/3) in amount of Allowed
Interests of such Class that have voted on the Plan.

       6.2.    Tabulation of Votes on a Non-Consolidated Basis.

               All votes on the Plan shall be tabulated on a non-consolidated basis by Class and
by Debtor for the purpose of determining whether the Plan satisfies sections 1129(a)(8) and/or
(10) of the Bankruptcy Code.

     6.3. Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code or
“Cramdown.”

                 Because certain Classes are deemed to have rejected this Plan, the Debtors will
request confirmation of this Plan, as it may be modified and amended from time to time, under
section 1129(b) of the Bankruptcy Code with respect to such Classes. Subject to Sections 14.5
and 14.6 of this Plan, the Debtors reserve the right (with the consent of each of the Required
Parties) to alter, amend, modify, revoke or withdraw this Plan or any Plan Document in order to
satisfy the requirements of section 1129(b) of the Bankruptcy Code, if necessary. Subject to
Sections 14.5 and 14.6 of this Plan (including the consent of each of the Required Parties), the
Debtors also reserve the right to request confirmation of the Plan, as it may be modified,
supplemented or amended from time to time, with respect to any Class that affirmatively votes to
reject the Plan.

       6.4.    Elimination of Vacant Classes.

               Any Class of Claims or Interests that does not have a holder of an Allowed Claim
or Allowed Interest or a Claim or Interest temporarily Allowed as of the date of the Confirmation
Hearing shall be deemed eliminated from the Plan for purposes of voting to accept or reject the
Plan and for purposes of determining acceptance or rejection of the Plan pursuant to section
1129(a)(8) of the Bankruptcy Code.

       6.5.    Voting Classes; Deemed Acceptance by Non-Voting Classes.

                If a Class contains Claims or Interests eligible to vote and no holders of Claims or
Interests eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be deemed
accepted by such Class.



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       6.6.    Confirmation of All Cases.

               Except as otherwise specified herein, the Plan shall not be deemed to have been
confirmed unless and until the Plan has been confirmed as to each of the Debtors; provided,
however, that the Debtors, with the consent of each of the Required Parties, may at any time
waive this Section 6.6.

                                         ARTICLE VII.

                             MEANS FOR IMPLEMENTATION

       7.1.    Non-Substantive Consolidation.

                 The Plan is a joint plan that does not provide for substantive consolidation of the
Debtors’ Estates, and on the Effective Date, the Debtors’ Estates shall not be deemed to be
substantively consolidated for purposes hereof. Except as specifically set forth herein, nothing in
this Plan shall constitute or be deemed to constitute an admission that any one of the Debtors is
subject to or liable for any claim against any other Debtor. Additionally, claimants holding
Claims and Interests against multiple Debtors, to the extent Allowed in each Debtor’s Chapter 11
Case, will be treated as holding a separate Claim or separate Interest, as applicable, against each
Debtor’s Estate, provided, however, that no holder of an Allowed Claim shall be entitled to
receive more than payment in full of such Allowed Claim (plus postpetition interest, if and to the
extent provided in this Plan), and such Claims will be administered and treated in the manner
provided in this Plan.

       7.2.    Plan Funding Transaction.

                On the Effective Date, subject to the terms and conditions set forth in the Plan
Funding Agreement, SquareTwo and Collect America of Canada, LLC shall sell to the Plan
Investor or its assignee as permitted pursuant to Section 10.3 of the Plan Funding Agreement
(including the Canadian PurchaseCo), free and clear of any Claims or Encumbrances (other than
Permitted Encumbrances), and for (i) the Closing Purchase Price (a) the Plan Investor or its
assignee as permitted pursuant to Section 10.3 of the Plan Funding Agreement shall purchase
from SquareTwo, one hundred percent (100%) of the Interests in Reorganized CACH and
Reorganized CACV of Colorado and (b) the Canadian PurchaseCo shall purchase from Collect
America of Canada, LLC 35,000 shares of stock of Reorganized SquareTwo Financial Canada
Corporation, which represents one hundred (100%) of the issued and outstanding equity of
Reorganized SquareTwo Financial Canada; and (ii) the other obligations of the Plan Investor
under the Plan Funding Agreement and this Plan. Any difference between the Closing Purchase
Price and the Final Purchase Price shall be received by or paid to Wind Down Co in accordance
with the Plan Funding Agreement. From and after the Effective Date, (x) the Plan Investor
and/or any permitted assignee shall directly and indirectly own the Acquired Debtors, and
(y) Wind Down Co shall own the other Dissolving Debtors. On the Effective Date, all Cash of
the Debtors, including cash and cash equivalents of the Canadian Debtors, shall be transferred to
Wind Down Co or remain with the Dissolving Debtors. After the Effective Date, the Plan
Investor shall return to Wind Down Co any cash or cash equivalents pledged to secure surety




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bonds, letters of credit and other deposits (upon the expiry date, earlier replacement or other
return of each of the foregoing) outstanding as of the Effective Date.

                  The transfer of the New Equity Interests to the Plan Investor shall be authorized
without the need for any further corporate action. The Plan Investor and/or any permitted
assignee shall pay the Closing Purchase Price to Wind Down Co on the Effective Date. After the
Effective Date, Wind Down Co shall (a) be paid any Cash remaining in the Escrow to the extent
it is entitled thereto under and in accordance with the terms of the Plan Funding Agreement; and
(b) receive or be paid, as applicable, the difference, if positive, between the Final Purchase Price
and the Closing Purchase Price as set forth in the Plan Funding Agreement.

               On the Effective Date, CACV of New Jersey, LLC shall sign a limited power of
attorney in connection with and shall transfer all judgments obtained by CACV of New Jersey,
LLC arising from or relating to collections on open and active charged-off accounts to CACV of
Colorado, LLC.

       7.3.    Assumed U.S. Liabilities.

                On and after the Effective Date, subject to the terms of the Plan Funding
Agreement, the Acquired Debtors shall be solely responsible for payment and satisfaction of all
Assumed U.S. Liabilities, but only as set forth on Exhibit A. All Persons holding Claims and
Interests arising out of or concerning an Assumed U.S. Liability shall be forever barred, estopped
and permanently enjoined from asserting against any of the Dissolving Debtors or the Plan
Administrator and any of their property such Persons’ Claims or Interests arising out of such
Assumed U.S. Liabilities.

       7.4.    Excluded U.S. Assets.

                Except as otherwise set forth in the Confirmation Order, nothing in any Plan
Document shall be deemed to convey, assign or otherwise transfer the Excluded U.S. Assets to
the Acquired Debtors or the Plan Investor, and the Dissolving Debtors shall retain all right, title
and interest to, in and under the Excluded U.S. Assets. On the Effective Date, the Excluded U.S.
Assets shall be deemed transferred to Wind Down Co or remain with the applicable Dissolving
Debtor, as applicable, without further action for distribution in accordance with the terms of this
Plan.

       7.5.    Canadian Debtors.

                 On and after the Effective Date, notwithstanding anything herein to the contrary
except with respect to the Prepetition Secured Lender Claims, Fee Claims (except as otherwise
set forth in the Plan Funding Agreement), certain Intercompany Claims and certain
Intercompany Interests (all of which shall be governed by the terms of this Plan), all Canadian
Claims against and all Interests held by, in or against any of the Canadian Debtors are
unimpaired by this Plan and shall remain unaffected hereby and are not discharged. All Persons
holding any Canadian Claims against and all Interests held by, in or against any of the Canadian
Debtors shall be forever barred, estopped and permanently enjoined from asserting against the
Dissolving Debtors or the Plan Administrator and any of their property, such Canadian Claims



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and Interests. On the Effective Date, the Acquired Debtors shall be solely responsible for all
Canadian Claims against and Interests by, in or against the Canadian Debtors.

                Notwithstanding the foregoing, in connection with the Effective Date, SquareTwo
Financial Canada Corporation shall purchase all of the equity interests of Canadian Debtor CCL
Financial Inc. from Christopher D. Walker pursuant to the Walker Stock Purchase Agreement.

       7.6.    Plan Funding.

                 The Debtors’ obligations under the Plan will be funded from all Cash of the
Debtors as of the Effective Date, and from the Cash received in respect of the Closing Purchase
Price and the Final Purchase Price and any Cash received by Wind Down Co after the Effective
Date (subject to the terms of the Plan Funding Agreement), including from the Escrow, if any.
Such Cash shall be used as follows: (a) first, to satisfy Allowed DIP Claims, Allowed
Administrative Expense Claims, including any obligations owed under any key employee
incentive plan or severance amounts in each case as approved by the Bankruptcy Court, Allowed
First Lien Lender Claims, Allowed 1.25 Lien Lender Claims, Allowed Fee Claims, U.S. Trustee
Fees, Allowed Priority Tax Claims, Allowed Priority Non-Tax Claims and Allowed Other
Secured Claims that are to be paid in Cash; (b) second, to fund the Wind Down Account; and
(c) third, to satisfy the Debtors’ other obligations under this Plan, the Plan Funding Agreement
and the TSA, in accordance with the terms hereof and thereof; provided, however, that any
Canadian Claims and/or any Assumed U.S. Liabilities shall be satisfied by the applicable
Acquired Debtor and the applicable Acquired Debtor shall be solely responsible for payment
thereof and the holder thereof shall have no recourse against the Dissolving Debtors or the Plan
Administrator or any of their property on account of such Claims. On the Effective Date, Wind
Down Co shall pay or reserve sufficient Cash to pay all amounts required to satisfy (a) through
(c) in the foregoing sentence (and also described in (a) through (k) in the definition of Remaining
Cash), and after such payment or reserve, as applicable, is established, holders of 1.5 Lien
Lender Claims shall receive an initial distribution under the Plan, with the remaining distribution
to be made upon the completion of the Wind Down to the extent any funds remain in the Wind
Down Account.


       7.7.    Continued Corporate Existence in Certain Debtors; Vesting of Assets;
Dissolution of Certain Debtors.

               (a)    General.

                       (i)     Except as otherwise provided in this Plan, the Debtors shall
       continue to exist after the Effective Date in accordance with the applicable laws of the
       respective jurisdictions in which they are incorporated or organized and pursuant to the
       Amended Certificates of Formation for the purposes of satisfying their obligations under
       the Plan and the continuation of their business. On or after the Effective Date, the
       Acquired Debtors and the Dissolving Debtors, as applicable, each in its respective sole
       and exclusive discretion, may take such action as permitted by applicable law and such
       Debtor’s organizational documents, as such Debtor may determine is reasonable and
       appropriate, including, but not limited to, causing: (w) a Debtor to be merged into another


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       Debtor, or its Subsidiary and/or affiliate; (x) a Debtor to be dissolved; (z) the legal name
       of a Debtor to be changed; or (y) the closure of a Debtor’s case on the Effective Date or
       any time thereafter.

                        (ii)    On the Effective Date or as soon as reasonably practicable
       thereafter, the Acquired Debtors and the Dissolving Debtors, as applicable, each in its
       respective sole and exclusive discretion, may take all actions as may be necessary or
       appropriate to effect any transaction described in, approved by, contemplated by, or
       necessary to effectuate the Plan, including: (1) the execution and delivery of appropriate
       agreements or other documents of merger, consolidation, restructuring, conversion,
       disposition, transfer, dissolution or liquidation containing terms that are consistent with
       the terms of the Plan and that satisfy the applicable requirements of applicable law and
       any other terms to which the applicable entities may agree; (2) the execution and delivery
       of appropriate instruments of transfer, assignment, assumption or delegation of any asset,
       property, right, liability, debt or obligation on terms consistent with the terms of the Plan
       and having other terms for which the applicable parties agree; (3) the filing of appropriate
       certificates or articles of incorporation, reincorporation, merger, consolidation,
       conversion or dissolution pursuant to applicable state law; and (4) all other actions that
       the applicable entities determine to be necessary or appropriate, including making filings
       or recordings that may be required by applicable law.

                (b)     Revesting of Assets. Except as otherwise provided in this Plan, on and
after the Effective Date, all property of the Estates, wherever located, including Canada,
including all claims, rights and Causes of Action and any property, wherever located, including
Canada, acquired by the Debtors under or in connection with this Plan, shall revest in the
applicable Acquired Debtor or the applicable Dissolving Debtor, as applicable, free and clear of
all Claims, Liens, charges, other encumbrances and Interests. On and after the Effective Date,
except as otherwise provided in this Plan, each applicable Acquired Debtor may operate its
business and may use, acquire and dispose of property, wherever located, including Canada, and
each Acquired Debtor and each Dissolving Debtor, as applicable, may prosecute, compromise or
settle any Claims (including any Administrative Expense Claims) and Causes of Action without
supervision of or approval by the Bankruptcy Court and free and clear of any restrictions of the
Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly imposed by this Plan
or the Confirmation Order. Without limiting the foregoing, the Dissolving Debtors may pay the
charges that they incur on or after the Effective Date for Professional Persons’ fees,
disbursements, expenses or related support services without application to the Bankruptcy Court.

                (c)     Dissolving Debtors. On or as soon as reasonably practicable after the
Effective Date of the Plan, Wind Down Co shall be authorized, in its sole and exclusive
discretion, to merge, dissolve and/or wind down the Dissolving Debtors under applicable law;
provided, that, notwithstanding such dissolution, Wind Down Co shall remain authorized to
continue the Wind Down, including filing any necessary documents with the appropriate
authorities, including any tax returns, and to facilitate the closing of the Chapter 11 Cases as to
such Debtors.

               (d)    Closing of the Acquired Debtors’ Chapter 11 Cases. On the Effective
Date, notwithstanding anything contained in the Local Bankruptcy Rules for the Southern


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District of New York to the contrary, the Chapter 11 Cases of the Acquired Debtors shall be
closed without the need to file any further documents with the Bankruptcy Court, and the
Confirmation Order shall act as a final decree closing each of the Acquired Debtors’ Chapter 11
Cases.

       7.8.    Cancellation of Existing Securities and Agreements.

                Except for the purpose of evidencing a right to distribution under this Plan, and
except as otherwise set forth in this Plan (including Section 2.3 hereof), on the Effective Date, all
agreements, including all intercreditor agreements, instruments, and other documents evidencing,
related to or connected with any Claim, other than Canadian Claims, Assumed U.S. Liabilities,
certain Intercompany Claims, Existing Canadian Interests and certain other Intercompany
Interests, in each case as set forth in the Plan, and any rights of any holder in respect thereof,
shall be deemed cancelled, discharged and of no force or effect. The holders of or parties to such
cancelled instruments, securities and other documentation will have no rights arising from or
relating to such instruments, securities and other documentation or the cancellation thereof,
except the rights provided for pursuant to this Plan. Notwithstanding anything to the contrary
herein, each of the First Lien Financing Agreement, the 1.25 Lien Credit Agreement and the 1.5
Lien Credit Agreement shall continue in effect solely to the extent necessary to: (a) permit
holders of First Lien Lender Claims, 1.25 Lien Lender Claims and 1.5 Lien Lender Claims to
receive Plan Distributions on account of such respective claims; and (b) permit the 1.25 Lien
Administrative Agent and the 1.5 Lien Administrative Agent, respectively, to seek compensation
and/or reimbursement of fees and expenses in accordance with the terms of this Plan. Except as
provided pursuant to this Plan, upon satisfaction of the First Lien Lender Claims, the 1.25 Lien
Lender Claims and the 1.5 Lien Lender Claims, respectively (and as the case may be), each of
the First Lien Administrative Agent, the 1.25 Lien Administrative Agent and the 1.5 Lien
Administrative Agent, respectively (and as the case may be), shall be discharged of all of their
respective obligations associated with the First Lien Financing Facility, the 1.25 Lien Term Loan
Facility and the 1.5 Lien Term Loan Facility, respectively (and as the case may be).

       7.9.    Boards.

               (a)     Acquired Debtors.

                        (i)    On the Effective Date, the New Boards shall consist of those
       individuals (x) identified in the Plan Supplement to be filed with the Bankruptcy Court no
       later than five (5) calendar days before the deadline to object to the Plan or (y) otherwise
       at or before the Confirmation Hearing.

                       (ii)   Unless reappointed pursuant to Section 7.9(a) hereof, the members
       of the boards of the Acquired Debtors prior to the Effective Date shall have no continuing
       obligations to the Debtors on and after the Effective Date and each such member shall be
       deemed to have resigned or shall otherwise cease to be a director of the applicable Debtor
       on the Effective Date. Commencing on the Effective Date, each of the directors of each
       of the Acquired Debtors shall serve pursuant to the terms of the applicable Amended
       LLC Agreement or the applicable organizational documents of such Acquired Debtor and
       may be replaced or removed in accordance therewith, as applicable.


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                (b)     Wind Down Co and the other Dissolving Debtors. The Plan Administrator
shall be the sole director, manager or managing member, as applicable, of each of the Dissolving
Debtors from and following the Effective Date. The members of the boards of the Dissolving
Debtors prior to the Effective Date shall have no continuing obligations to the Debtors on and
after the Effective Date and each such member shall be deemed to have resigned or shall
otherwise cease to be a director of the applicable Debtor on the Effective Date.

       7.10.   Management.

                (a)     Acquired Debtors. As of the Effective Date, the individuals who will
serve in certain senior management positions of the Acquired Debtors shall consist of those
individuals set forth in the Plan Supplement. The compensation arrangement for any insider of
the Debtors that shall become an officer of an Acquired Debtor shall be disclosed (x) in the Plan
Supplement to be filed with the Bankruptcy Court no later than five (5) calendar days before the
deadline to object to the Plan or (y) otherwise at or before the Confirmation Hearing.

               (b)      The Dissolving Debtors. From and after the Effective Date, the
Dissolving Debtors shall be managed and administered through the Plan Administrator, who
shall be appointed the sole officer of each of the Dissolving Debtors and shall have full authority
to administer the provisions of the Plan. The Plan Administrator may employ one or more
Persons to assist it with performing its duties under the Plan.

              (c)     Post-Emergence Incentive Program. After the Effective Date, in
accordance with the terms of the Post-Emergence Incentive Program, Wind Down Co shall pay
the Post-Emergence Bonuses to the Key Employees.

       7.11.   Corporate Action.

               (a)     The Dissolving Debtors shall serve on the U.S. Trustee quarterly reports
of the disbursements made on an entity-by-entity basis until such time as a final decree is entered
closing the applicable Chapter 11 Case or the applicable Chapter 11 Case is converted or
dismissed, or the Bankruptcy Court orders otherwise. Any deadline for filing Administrative
Expense Claims shall not apply to U.S. Trustee Fees.

                (b)    On the Effective Date, the Amended LLC Agreements, the Amended
Certificates of Formation and any other applicable amended and restated corporate
organizational documents of each of the Reorganized Debtors, including the Dissolving Debtors,
shall be deemed authorized in all respects.

                 (c)    Any action under the Plan to be taken by or required of the Debtors, the
Acquired Debtors and/or the Dissolving Debtors, including the adoption or amendment of
certificates of formation, incorporation and by-laws, the issuance of securities and instruments,
or the selection of officers or directors shall be authorized and approved in all respects, without
any requirement of further action by any of the Debtors’ or the Reorganized Debtors’, including
the Acquired Debtors’ and the Dissolving Debtors’, equity holders, sole members, boards of
directors or boards of managers, or similar body, as applicable.




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                (d)     The Debtors and the Reorganized Debtors, including the Acquired Debtors
and the Dissolving Debtors, shall be authorized to execute, deliver, file, and record such
documents (including the Plan Documents), contracts, instruments, releases and other
agreements and take such other action as may be necessary to effectuate and further evidence the
terms and conditions of the Plan, without the necessity of any further Bankruptcy Court,
corporate, limited liability company, board, member, or shareholder approval or action. In
addition, the selection of the Persons who will serve as the initial directors, officers and
managers of the Acquired Debtors and the Dissolving Debtors as of the Effective Date shall be
deemed to have occurred and be effective on and after the Effective Date without any
requirement of further action by the board of directors, board of managers, or equity holders of
the applicable Reorganized Debtor, applicable Acquired Debtor or applicable Dissolving Debtor,
as the case may be.

       7.12.   Plan Administrator.

                (a)      Appointment; Duties. Not less than seven (7) days prior to the
commencement of the Confirmation Hearing and subject to Bankruptcy Court approval in
connection with confirmation of the Plan, the Debtors, with the consent of the Required
Consenting 1.5 Lien Lenders (which consent shall not be unreasonably withheld, delayed or
conditioned), shall designate the Person who initially will serve as the Plan Administrator;
provided, however, that: (i) the Debtors shall have the right at any time prior to the Effective
Date to remove the Plan Administrator without cause; and (ii) the Plan Administrator shall be
subject to removal by the Bankruptcy Court for cause shown at any time. On or after the
Confirmation Date but prior to the Effective Date, the Plan Administrator shall assume all of its
obligations, powers and authority under the Plan to: (i) establish bank accounts as may be
required to fulfill the Debtors’ obligations under this Plan; and (ii) exercise such other power and
authority as may be set forth in the Confirmation Order (collectively, the “Pre-Effective Date PA
Duties”). On the Effective Date, the Plan Administrator shall assume all of its other obligations,
powers and authority under the Plan.

               (b)     Qualifications; Plan Administrator Agreement.

                       (i)     Plan Administrator as Fiduciary. The Plan Administrator shall be
       a fiduciary of the Dissolving Debtors, shall have such qualifications and experience as are
       sufficient to enable the Plan Administrator to perform its obligations under this Plan and
       under the Plan Administrator Agreement, and shall be compensated and reimbursed for
       expenses as set forth in, and in accordance with, the Plan Administrator Agreement. To
       the extent necessary, and except with respect to any Canadian Claim and any Assumed
       U.S. Liability, following the Effective Date, the Plan Administrator shall be deemed to be
       a judicial substitute for the Debtors as the party-in-interest in the Chapter 11 Cases, under
       the Plan or in any judicial proceeding or appeal to which the Debtors are a party,
       consistent with section 1123(b)(3)(B) of the Bankruptcy Code.

                 The Plan Administrator shall not be liable for any action it takes or omits to take
that it believes in good faith to be authorized or within its rights or powers unless it is ultimately
and finally determined by a court of competent jurisdiction that such action or inaction was the
result of fraud, gross negligence or willful misconduct.


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                        (ii)   Provisions of Agreement and Order. The Plan Administrator
       Agreement and the Confirmation Order shall provide that: (i) the Plan Administrator
       shall be a fiduciary of the Dissolving Debtors; (ii) neither the Debtors (except as
       expressly set forth in the Plan Administrator Agreement) nor their respective boards of
       directors, managements, employees and professionals shall have any liability for any
       action taken or omitted to be taken by the Plan Administrator in performing the Pre-
       Effective Date PA Duties and all Persons are enjoined from pursuing any Claims against
       the foregoing pursuant to this Plan on account of any such action taken or omitted to be
       taken; (iii) the Plan Administrator, on behalf of the Dissolving Debtors, shall be
       authorized and responsible for handling the Post-Closing Purchase Price Adjustment and
       related obligations and responsibilities; and (iv) if the Plan is withdrawn or otherwise
       abandoned prior to the occurrence of the Effective Date, the Plan Administrator position
       shall thereafter be dissolved automatically.

              (c)   Wind Down Co Stock. On the Effective Date, a single share of stock shall
be issued by Wind Down Co to the Plan Administrator.

                 (d)    Funding. Subject to the terms and conditions set forth in the Plan Funding
Agreement, (i) the Plan Investor and/or any permitted assignee shall pay the Closing Purchase
Price to Wind Down Co on the Effective Date and (ii) after the Effective Date, Wind Down Co
shall (x) be paid any Cash remaining in the Escrow to the extent it is entitled thereto under and in
accordance with the terms of the Plan Funding Agreement; and (y) be paid or receive, as
applicable, any difference between the Closing Purchase Price and the Final Purchase Price as
set forth in the Plan Funding Agreement.

               (e)     Resignation, Death or Removal. The Plan Administrator may be removed
by the Bankruptcy Court upon application for good cause shown. In the event of the resignation
or removal, liquidation, dissolution, death or incapacity of the Plan Administrator, the
Bankruptcy Court shall designate another Person to become Plan Administrator and thereupon
the successor Plan Administrator, without any further act, shall become fully vested with all of
the rights, powers, duties and obligations of its predecessor.

               (f)    Wind Down Funds. The Plan Administrator shall establish and fund the
Wind Down Account from all Cash of the Debtors as of the Effective Date, plus any Cash
received by the Dissolving Debtors on and after the Effective Date, including the Closing
Purchase Price, the remainder of the Purchase Price, if any, in accordance with the terms of the
Plan Funding Agreement and any Cash remaining in the Escrow to the extent it is entitled thereto
under and in accordance with the terms of the Plan Funding Agreement.

       7.13.   Wind Down of the Debtors’ Estates.

                (a)     The Plan Administrator shall oversee the Wind Down and shall make
distributions to, and otherwise hold all property of the Estates for the benefit of, those holders of
Allowed Claims and Allowed Interests that is consistent with and in accordance with the Plan
and the Confirmation Order. None of the Dissolving Debtors (including the Plan Administrator)
shall be required to post a bond in favor of the United States.




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                (b)      As set forth in the Plan Administrator Agreement, the Plan Administrator
shall have the power and authority to perform the following acts with respect to the Dissolving
Debtors, in addition to any powers granted by law or conferred by any other provision of the
Plan and orders of the Bankruptcy Court: (i) take all steps and execute all instruments and
documents necessary to make distributions to holders of Allowed Claims and Allowed Interests
that Wind Down Co is responsible for payment of under this Plan; (ii) object to Claims, if any, as
provided in this Plan and prosecute such objections; (iii) resolve, compromise and/or settle any
objections to the amount, validity, priority, treatment or allowance of Claims, Administrative
Expense Claims, or Interests; (iv) comply with this Plan and the obligations hereunder; (v) if
necessary, employ, retain, or replace professionals to represent it with respect to its
responsibilities; (vi) take all actions necessary or appropriate to enforce the Debtors’ rights and
fulfill the Debtors’ obligations under the Plan Funding Agreement, the Escrow Agreement and
the TSA and any related documents; (vii) prepare and file applicable tax returns for the
Dissolving Debtors; (viii) deposit Estate funds, draw checks and make disbursements consistent
with the terms of this Plan; (ix) purchase or continue insurance protecting the Dissolving
Debtors, the Plan Administrator and property of the applicable Estates; (x) seek entry of a final
decree in any of the Dissolving Debtors’ Chapter 11 Cases at the appropriate time; (xi) resolve,
compromise and/or settle any Cure Disputes; (xii) abandon in any commercially reasonable
manner, including abandonment or donation to a charitable organization (as such term is
described in Internal Revenue Code section 501(c)(3) (whose contributions are deductible under
Internal Revenue Code section 170)) of the Plan Administrator’s choice, any Estate assets that
are of no material benefit, including distributable Cash under this Plan; and (xiii) take such other
action as the Plan Administrator may determine to be necessary or desirable to carry out the
purpose of this Plan.

                (c)     Following the Effective Date, none of the Dissolving Debtors shall engage
in any business activities or take any actions, except those necessary to effectuate the Plan,
including under the Plan Funding Agreement, and under any and all transition services required
pursuant to the TSA, and the Wind Down. On and after the Effective Date, the Plan
Administrator may, in the name of the Dissolving Debtors, take such action and settle and
compromise Claims or Interests without supervision or approval by the Bankruptcy Court and
free of any restrictions of the Bankruptcy Code or the Bankruptcy Rules, other than any
restrictions expressly imposed by the Plan or the Confirmation Order.

       7.14.   Consenting Lender Fee Claims.

               On the Effective Date, Wind Down Co shall pay the First Lien Lender Fee Claim,
the 1.25 Lien Lender Fee Claim (in each case, to the extent not duplicative of the First Lien
Lender Claims and the 1.25 Lien Lender Claims, respectively) and the 1.5 Lien Lender Fee
Claim.

      7.15. Comprehensive Settlement of Claims and Controversies; Termination of
Subordination Rights.

                (a)    Pursuant to Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided under this Plan, the provisions of this Plan will
constitute a good faith compromise and settlement of all Claims or controversies relating to the


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rights that a holder of a Claim or Interest may have with respect to any Allowed Claim or
Allowed Interest or any distribution to be made pursuant to this Plan on account of any Allowed
Claim or Allowed Interest. The entry of the Confirmation Order will constitute the Bankruptcy
Court’s approval, as of the Effective Date, of the compromise or settlement of all such claims or
controversies and the Bankruptcy Court’s finding that all such compromises or settlements are:
(i) in the best interest of the Debtors, the Reorganized Debtors, including the Dissolving Debtors,
and their respective Estates and property, and of holders of Claims or Interests; and (ii) fair,
equitable and reasonable.

                (b)    Except as provided herein, the classification and manner of satisfying all
Claims and Interests and the respective distributions and treatments under the Plan take into
account or conform to the relative priority and rights of the Claims and Interests in each Class in
connection with any contractual, legal and equitable subordination rights relating thereto whether
arising under general principles of equitable subordination, section 510(b) or 510(c) of the
Bankruptcy Code or otherwise, and any and all such rights are settled, compromised and released
pursuant to the Plan. The Confirmation Order shall permanently enjoin, effective as of the
Effective Date, all Persons and entities from enforcing or attempting to enforce any such
contractual, legal and equitable rights satisfied, compromised and settled pursuant to this Plan.

       7.16.   Additional Transactions Authorized Under this Plan.

                On or prior to the Effective Date, the Debtors shall be authorized to take any such
actions as may be necessary or appropriate to reinstate Claims or Interests or render Claims or
Interests not impaired, as provided for under this Plan.

                                        ARTICLE VIII.

                                       DISTRIBUTIONS

       8.1.    Distributions.

               Except for (a) any Canadian Claims, which will be paid by the applicable
Acquired Debtors, (b) certain Intercompany Claims and certain Intercompany Interests in each
case being retained by the Acquired Debtors, and (c) Assumed U.S. Liabilities, the Disbursing
Agent shall make all Plan Distributions to the applicable holders of Allowed Claims in
accordance with the terms of this Plan.

       8.2.    No Postpetition Interest on Claims.

                Except with respect to Allowed DIP Claims, the First Lien Lender Claims and the
1.25 Lien Lender Claims, and unless otherwise specifically provided for in the Confirmation
Order, or required by applicable bankruptcy law, postpetition interest shall not accrue or be paid
on any Claims, and no holder of a Claim shall be entitled to interest accruing on such Claim on
or after the Petition Date.




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       8.3.    Date of Distributions.

               Unless otherwise provided herein, any Plan Distributions and deliveries to be
made hereunder shall be made on the applicable Distribution Date; provided, that the Dissolving
Debtors may utilize periodic distribution dates to the extent that use of a periodic distribution
date does not delay payment of the Allowed Claim more than thirty (30) days. In the event that
any payment or act under this Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be
completed on or as soon as reasonably practicable after the next succeeding Business Day, but
shall be deemed to have been completed as of the required date.

       8.4.    Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various lists of
holders of Claims in each of the Classes, as maintained by the Debtors, or their agents, shall be
deemed closed and there shall be no further changes in the record holders of any of the Claims
after the Distribution Record Date. Neither the Debtors nor the Disbursing Agent shall have any
obligation to recognize any transfer of Claims occurring after the close of business on the
Distribution Record Date. Additionally, with respect to payment of any Cure Amounts or any
Cure Disputes in connection with the assumption and/or assignment of the Debtors’ executory
contracts and unexpired leases, neither the Debtors, the Disbursing Agent nor the Plan Investor
shall have any obligation to recognize or deal with any party other than the non-Debtor party to
the applicable executory contract or unexpired lease, even if such non-Debtor party has sold,
assigned or otherwise transferred its Claim for a Cure Amount.

       8.5.    Disbursing Agent.

                 (a)      Powers of Disbursing Agent. The Disbursing Agent shall be empowered
to: (i) effectuate all actions and execute all agreements, instruments, and other documents
necessary to perform its duties under this Plan; (ii) make all applicable Plan Distributions or
payments contemplated hereby in respect of the Dissolving Debtors; (iii) employ professionals to
represent it with respect to its responsibilities; and (iv) exercise such other powers as may be
vested in the Disbursing Agent by order of the Bankruptcy Court (including any order issued
after the Effective Date), pursuant to this Plan, or as deemed by the Disbursing Agent to be
necessary and proper to implement the provisions hereof.

                (b)     Expenses Incurred by the Disbursing Agent On or After the Effective
Date. Except as otherwise ordered by the Bankruptcy Court, and subject to the written
agreement of Wind Down Co (solely if the Plan Administrator is not the Disbursing Agent), the
amount of any reasonable and documented fees and expenses incurred by the Disbursing Agent
on or after the Effective Date (including taxes) and any reasonable compensation and expense
reimbursement Claims (including reasonable attorney and other professional fees and expenses)
of the Disbursing Agent shall be paid in Cash and will not be deducted from Plan Distributions
made to holders of Allowed Claims by the Disbursing Agent. The foregoing fees and expenses
shall be paid in the ordinary course, upon presentation of invoices to Wind Down Co and without
the need for approval by the Bankruptcy Court, as set forth in Section 3.2(b) of this Plan. In the
event that the Disbursing Agent and Wind Down Co are unable to resolve a dispute with respect


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to the payment of the Disbursing Agent’s fees, costs and expenses, the Disbursing Agent may
elect to submit any such dispute to the Bankruptcy Court for resolution.

                (c)     Bond. The Disbursing Agent shall not be required to give any bond or
surety or other security for the performance of its duties unless otherwise ordered by the
Bankruptcy Court and, in the event that the Disbursing Agent is so otherwise ordered, all costs
and expenses of procuring any such bond or surety shall be borne by the Dissolving Debtors.
Furthermore, any such entity required to give a bond shall notify the Bankruptcy Court and the
U.S. Trustee in writing before terminating any such bond that is obtained.

                (d)     Cooperation with Disbursing Agent. Wind Down Co shall use all
commercially reasonable efforts to provide the Disbursing Agent with the amount of Claims and
the identity and addresses of holders of Claims, in each case, that are entitled to receive Plan
Distributions, as set forth in the Debtors’ or the applicable Reorganized Debtors’ books and
records. Wind Down Co will cooperate in good faith with the Disbursing Agent to comply with
the withholding and reporting requirements outlined in Section 8.14 of this Plan.

       8.6.    Delivery of Distribution.

                Subject to the provisions contained in this Article VIII, with respect to
distributions required to be made to holders of Allowed Claims by the Dissolving Debtors under
this Plan, the Disbursing Agent will issue, or cause to be issued, and authenticate, as applicable,
all Plan Consideration, and subject to Bankruptcy Rule 9010, make all Plan Distributions or
payments to any holder of an Allowed Claim as and when required by this Plan at: (a) the
address of such holder on the books and records of the Debtors or their agents; or (b) the address
in any written notice of address change delivered to the Debtors or the Disbursing Agent,
including any addresses included on any filed proofs of Claim or transfers of Claim filed with the
Bankruptcy Court. In the event that any Plan Distribution to any such holder is returned as
undeliverable, no distribution or payment to such holder shall be made unless and until the
Disbursing Agent has been notified of the then current address of such holder, at which time or
as soon as reasonably practicable thereafter such Plan Distribution shall be made to such holder
without interest; provided, however, that such Plan Distributions or payments shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of the later of
ninety (90) days from: (i) the Effective Date; and (ii) the first Distribution Date after such
holder’s Claim is first Allowed. Notwithstanding the foregoing, all distributions to be made on
account of (x) the First Lien Lender Claims shall be delivered to the First Lien Administrative
Agent for the benefit of itself and the First Lien Lenders in accordance with the terms of the First
Lien Financing Agreement; (y) the 1.25 Lien Lender Claims shall be delivered to the 1.25 Lien
Administrative Agent for the benefit of itself and the 1.25 Lien Lenders in accordance with the
terms of the 1.25 Lien Credit Agreement; and (z) the 1.5 Lien Lender Claims shall be delivered
to the 1.5 Lien Administrative Agent for the benefit of itself and the 1.5 Lien Lenders in
accordance with the terms of the 1.5 Lien Credit Agreement.

       8.7.    Unclaimed Property.

              Ninety (90) days from the later of: (i) the Effective Date, and (ii) the first
Distribution Date after such holder’s Claim is first Allowed, all unclaimed property, wherever


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located, or interests in property distributable hereunder on account of such Claim shall revert to
the applicable Dissolving Debtor or their respective successors or assigns and be deposited in the
Wind Down Account, and any claim or right of the holder of such Claim to such property,
wherever located, or interest in property shall be discharged and forever barred. Wind Down Co
and the Disbursing Agent shall have no obligation to attempt to locate any holder of an Allowed
Claim other than by reviewing the Debtors’ books and records, and the proofs of Claim filed
against the Debtors, as reflected on the claims register maintained by the Claims Agent.

       8.8.    Satisfaction of Claims.

                Unless otherwise specifically provided herein, any Plan Distributions and
deliveries to be made on account of Allowed Claims hereunder shall be in complete settlement,
satisfaction and discharge of such Allowed Claims.

       8.9.    Manner of Payment Under Plan.

               Except as specifically provided herein, at the option of Wind Down Co, any Cash
payment to be made hereunder may be made by a check or wire transfer or as otherwise required
or provided in applicable agreements or customary practices of the Debtors or the applicable
Reorganized Debtor, as the case may be.

       8.10.   De Minimis Cash Distributions.

               None of the Dissolving Debtors, the Plan Administrator or the Disbursing Agent
shall have any obligation to make a distribution that is less than $50.00 in Cash.

       8.11.   Distributions on Account of Allowed Claims Only.

             Notwithstanding anything herein to the contrary, no Plan Distribution shall be
made on account of a Claim until such Claim becomes an Allowed Claim.

       8.12.   No Distribution in Excess of Amount of Allowed Claim.

               Notwithstanding anything herein to the contrary, no holder of an Allowed Claim
shall, on account of such Allowed Claim, receive a Plan Distribution of a value in excess of the
Allowed amount of such Claim.

       8.13.   Setoffs and Recoupments.

                Except as expressly provided in this Plan and except with respect to the
Prepetition Secured Lender Claims, the Dissolving Debtors may, pursuant to sections 553 and
558 of the Bankruptcy Code or applicable non-bankruptcy law, setoff and/or recoup against any
Plan Distributions to be made on account of any Allowed Claim, any and all claims, rights and
Causes of Action that the applicable Debtor may hold against the holder of such Allowed Claim
to the extent such setoff or recoupment is either (a) agreed in amount between the applicable
Dissolving Debtor and the holder of the Allowed Claim or (b) otherwise adjudicated by the
Bankruptcy Court or another court of competent jurisdiction; provided, however, that neither the
failure to effectuate a setoff or recoupment nor the allowance of any Claim hereunder shall


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constitute a waiver or release by a Reorganized Debtor, including any Acquired Debtor or any
Dissolving Debtor, or any of their respective successors of any and all claims, rights and Causes
of Action that such Persons or any of their respective successors may possess against the
applicable holder.

       8.14.   Withholding and Reporting Requirements.

                In connection with this Plan and all Plan Distributions hereunder, the Dissolving
Debtors shall comply with all withholding and reporting requirements imposed by any federal,
state, provincial, local or foreign taxing authority, and all Plan Distributions hereunder shall be
subject to any such withholding and reporting requirements. The Dissolving Debtors shall be
authorized to take any and all actions that may be necessary or appropriate to comply with such
withholding and reporting requirements, including requiring a holder of a Claim to submit
appropriate tax and withholding certifications. Notwithstanding any other provision of this Plan:
(a) each holder of an Allowed Claim that is to receive a Plan Distribution under this Plan shall
have sole and exclusive responsibility for the satisfaction and payment of any tax obligations
imposed by any governmental unit, including income, withholding and other tax obligations on
account of such distribution; and (b) no Plan Distributions shall be required to be made to or on
behalf of such holder pursuant to this Plan unless and until such holder has made arrangements
satisfactory to Wind Down Co for the payment and satisfaction of such tax obligations or has, to
Wind Down Co’s satisfaction, established an exemption therefrom.

                                          ARTICLE IX.

                        PROCEDURES FOR RESOLVING CLAIMS

       9.1.    Claims Process.

                Except as otherwise required by order of the Bankruptcy Court, holders of Claims
need not file proofs of claim with the Claims Agent or the Bankruptcy Court and shall be subject
to the Bankruptcy Court claims process only to the extent set forth in this Plan and/or
Confirmation Order. Except as otherwise provided in this Plan, all Canadian Claims and all
Assumed U.S. Liabilities will be paid in the ordinary course of business of the applicable
Acquired Debtor. If an Acquired Debtor disputes the amount of any Canadian Claim or any
Assumed U.S. Liability, such dispute shall be determined, resolved or adjudicated, as the case
may be, in a manner as if the Chapter 11 Cases had not commenced and shall survive the
Effective Date as if the Chapter 11 Cases had not been commenced.

       9.2.    Objections to Claims.

                Other than with respect to Fee Claims, Canadian Claims and Assumed U.S.
Liabilities, only Wind Down Co, on behalf of itself and the other Dissolving Debtors, shall be
entitled to object to Claims on and after the Effective Date, except that nothing herein shall be
understood to waive the Plan Investor’s or Acquired Debtors’ right to argue that a Claim filed
against the Acquired Debtors has been discharged under the Plan. Any objections to Claims
(other than Administrative Expense Claims) shall be served and filed on or before the later of:
(a) one hundred eighty (180) days following the later of (x) the Effective Date and (y) the date



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that a proof of Claim is filed or amended or a Claim is otherwise asserted or amended in writing
by or on behalf of a holder of such Claim; and (b) such other date as may be fixed by the
Bankruptcy Court, whether fixed before or after the date specified in clause (a) hereof. From and
after the Effective Date, Wind Down Co may settle or compromise any Disputed Claim without
approval of the Bankruptcy Court.

       9.3.    Payments and Distributions with Respect to Disputed Claims.

               If an objection to a Claim is filed as set forth in Section 9.2, except as otherwise
agreed by Wind Down Co, in its sole discretion, if any portion of a Claim (other than a Fee
Claim) is a Disputed Claim, no payment or distribution (partial or otherwise) provided hereunder
shall be made on account of such Claim unless and until such Disputed Claim becomes an
Allowed Claim.

                                          ARTICLE X.

                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       10.1.   General Treatment.

                As of and subject to the occurrence of the Effective Date and the payment of any
applicable Cure Amount by the Plan Investor, (a) all executory contracts and unexpired leases to
which any U.S. Debtor is a party identified, that are on the Schedule of Assumed Contracts and
Leases, shall be deemed assumed or assumed and assigned by and/or to the Acquired Debtors,
and all other executory contracts and unexpired leases of the U.S. Debtors shall be deemed
rejected, and (b) all executory contracts and unexpired leases to which any Canadian Debtor is a
party and a U.S. Debtor is not a party (and which have not expired by their own terms on or prior
to the Confirmation Date), shall be deemed assumed or assumed and assigned by and/or to the
Acquired Debtors; except, with respect to (a) and (b), that: (i) any executory contracts and
unexpired leases that previously have been assumed or rejected pursuant to a Final Order of the
Bankruptcy Court shall be treated as provided in such Final Order; and (ii) all executory
contracts and unexpired leases that are the subject of a separate motion to assume or reject under
section 365 of the Bankruptcy Code pending on the Effective Date shall be treated as is
determined by a Final Order of the Bankruptcy Court resolving such motion. The listing of a
document on the Schedule of Assumed Contracts and Leases shall not constitute an admission by
the Debtors that such document is an executory contract or an unexpired lease. If, prior to the
Confirmation Date, the Acquired Debtors (as required by the Plan Investor) identify additional
executory contracts and unexpired leases (x) to which a U.S. Debtor is a party that might be
assumed or assumed and assigned by the Acquired Debtors, the Acquired Debtors will promptly
file a supplemental Schedule of Assumed Contracts and Leases and serve such schedule on each
applicable counterparty; and (y) to which a Canadian Debtor is a party that will be assumed or
assumed and assigned by the Acquired Debtors, the Acquired Debtors will promptly serve a
notice on the non-Debtor counterparty(ies) to such contracts and leases. For the avoidance of
doubt, all executory contracts and unexpired leases identified on the Schedule of Assumed
Contracts and Leases (as required by the Plan Investor) where the Debtor counterparty is a U.S.
Debtor shall be assumed by the applicable Debtor and assigned to an Acquired Debtor in
accordance with this Article X, and no Dissolving Debtors shall have any liability therefor.


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       10.2.   Claims Based on Rejection of Executory Contracts or Unexpired Leases.

                 Except as otherwise explicitly set forth in the Plan, all Claims (other than
Canadian Claims and Assumed U.S. Liabilities) arising from the rejection of executory contracts
or unexpired leases shall be discharged as of the Effective Date, and shall not be enforceable
against the Debtors, the Estates, the Reorganized Debtors, including the Acquired Debtors and
the Dissolving Debtors, the Plan Investor, the Plan Administrator, or their respective properties
or interests in property. In the event that the rejection of an executory contract or unexpired
lease by any of the Debtors pursuant to the Plan results in damages to the other party or parties to
such contract or lease, a Claim (other than a Canadian Claim and an Assumed U.S. Liability) for
such damages shall be forever barred and shall not be enforceable against the Debtors, the
Reorganized Debtors, including the Acquired Debtors, the Plan Investor, and the Dissolving
Debtors, or the Plan Administrator.

      10.3. Cure of Defaults for Assumed or Assumed and Assigned Executory Contracts
and Unexpired Leases.

                (a)     Except to the extent that less favorable treatment has been agreed to by the
non-Debtor party or parties to each such executory contract or unexpired lease to be assumed or
assumed and assigned pursuant to the Plan, any monetary defaults arising under such executory
contract or unexpired lease shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the appropriate amount (the “Cure Amount”) in full in Cash by the Plan
Investor on the later of thirty (30) days after: (i) the Effective Date; or (ii) the date on which any
Cure Dispute relating to such Cure Amount has been resolved (either consensually or through
judicial decision); provided that, notwithstanding anything herein to the contrary, with respect to
all executory contracts and unexpired leases to which a Canadian Debtor is a party (and a U.S.
Debtor is not a party), all Cure Amounts shall be paid by the applicable Canadian Debtor(s) in
the ordinary course, subject to all defenses and disputes the applicable Canadian Debtor(s) may
have with respect to such executory contract or unexpired lease, which the applicable Canadian
Debtor(s) may assert in the ordinary course.

                 (b)    With respect to all executory contracts and unexpired leases to which any
U.S. Debtor is a party, no later than seven (7) calendar days after the Petition Date, the Debtors
shall file a schedule (the “Cure Schedule”), which may be the Schedule of Assumed Contracts
and Leases, setting forth the Cure Amount, if any, for each executory contract and unexpired
lease to be assumed or assumed and assigned pursuant to Section 10.1 of this Plan, and serve
such Cure Schedule on each applicable counterparty. With respect to all executory contracts and
unexpired leases to which any Canadian Debtor is a party and a U.S. Debtor is not a party, the
Debtors shall serve a notice on the non-Debtor counterparties to such contracts and leases of
such Canadian Debtor(s) to be assumed or assumed and assigned reflecting the intention to
assume or assume and assign such contracts or leases in connection with the Plan and setting
forth the Cure Amount. Any party to an executory contract or unexpired lease to which a U.S.
Debtor is a counterparty that fails to object to the applicable Cure Amount listed on the Cure
Schedule within fourteen (14) calendar days of the filing thereof, shall be forever barred,
estopped and enjoined from disputing the Cure Amount set forth on the Cure Schedule
(including a Cure Amount of $0.00) and/or from asserting any Claim against the applicable
Debtor, Reorganized Debtor, Acquired Debtor, the Plan Investor, and the Dissolving Debtors


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arising under section 365(b)(1) of the Bankruptcy Code except as set forth on the Cure Schedule.
If, prior to the Confirmation Date, the Debtors (as required by the Plan Investor) identify
additional executory contracts and unexpired leases to which a U.S. Debtor is a counterparty that
might be assumed or assumed and assigned by the Debtors, the Debtors will promptly file a
supplemental Cure Schedule (“Supplemental Cure Schedule”) and serve such Supplemental
Cure Schedule on each applicable counterparty and each applicable counterparty shall have
fourteen (14) calendar days of the filing thereof to object to the applicable Cure Amount set forth
on the Supplemental Cure Schedule. If, prior to the Confirmation Date, the Debtors identify
additional executory contracts and unexpired leases to which a Canadian Debtor is a counter
party (and a U.S. Debtor is not a counterparty) that will be assumed or assumed and assigned by
the Debtors, the Debtors will promptly serve notice of such assumption or assumption and
assignment on the non-Debtor counterparty thereto in accordance with this Section 10(b).

                (c)     In the event of a dispute (each, a “Cure Dispute”) regarding: (i) the Cure
Amount; (ii) the ability of the applicable Acquired Debtor to provide “adequate assurance of
future performance” (within the meaning of section 365 of the Bankruptcy Code) under the
contract or lease to be assumed or assumed and assigned; or (iii) any other matter pertaining to
the proposed assumption or assumption and assignment, the cure payments required by section
365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order resolving
such Cure Dispute and approving the assumption or assumption and assignment. To the extent a
Cure Dispute relates solely to the Cure Amount, the applicable Debtor may assume and/or
assume and assign the applicable contract or lease prior to the resolution of the Cure Dispute;
provided, that, with respect to a Cure Amount associated with an executory contract or unexpired
lease to which a U.S. Debtor is a counterparty, the Plan Investor reserves Cash in an amount
sufficient to pay the full amount asserted as the required cure payment by the non-Debtor party
to such contract or lease (or such smaller amount as may be fixed or estimated by the Bankruptcy
Court). Except as set forth in the immediately preceding proviso, all Cure Amounts shall be paid
by the Plan Investor on and after the Effective Date and none of the Dissolving Debtors shall
have any liability with respect to the payment of Cure Amounts. Only the Plan Investor may
resolve any Cure Dispute relating solely to the Cure Amount for which it is paying.

       10.4.   Effect of Confirmation Order on Assumption/Rejection

                  Subject to the occurrence of the Effective Date, entry of the Confirmation Order
by the Bankruptcy Court shall constitute entry of an order by the Bankruptcy Court pursuant to
sections 365(a) and 1123(b) of the Bankruptcy Code approving the assumptions, assumptions
and assignments and rejections described in this Article X and determining that (a) with respect
to such rejections, such rejected executory contracts and unexpired leases are burdensome and
that the rejection therein is in the best interests of the Estates; (b) with respect to such
assumptions, to the extent necessary, that the Plan Investor has (i) cured, or provided adequate
assurance that the Plan Investor will promptly cure, any default in accordance with section
365(b)(1)(A) of the Bankruptcy Code, (ii) compensated or provided adequate assurance that it or
its affiliate will promptly compensate the counterparty for any actual pecuniary loss to such party
resulting from such default, and (iii) provided adequate assurance of future performance under
such executory contract or unexpired lease, and (c) with respect to any assignment, to the extent
necessary, that the Plan Investor has (i) cured, or provided adequate assurance that it or its
affiliate will promptly cure, any default in accordance with section 365(b)(1)(A) of the


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Bankruptcy Code, (ii) compensated or provided adequate assurance that the Plan Investor will
promptly compensate the counterparty for any actual pecuniary loss to such party resulting from
such default, and (iii) that “adequate assurance of future performance” (within the meaning of
section 365 of the Bankruptcy Code) by the assignee has been demonstrated and no further
adequate assurance is required. Assumption of any executory contract or unexpired lease and
satisfaction of the Cure Amounts shall result in the full discharge, release and satisfaction of any
claims or defaults, whether monetary or nonmonetary, including defaults of provisions restricting
the change in control or ownership interest composition or other bankruptcy-related defaults,
arising under any assumed executory contract or unexpired lease at any time before the date such
executory contract or unexpired lease is assumed. Each executory contract and unexpired lease
assumed pursuant to this Article X shall revest in and be fully enforceable by the applicable
Debtor in accordance with its terms, except as modified by the provisions of the Plan, or any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable federal
law. To the maximum extent permitted by law, to the extent any provision in any executory
contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or purports to
restrict or prevent, or is breached or deemed breached by, the assumption of such executory
contract or unexpired lease (including any “change of control” provision), then such provision
shall be deemed modified such that the transactions contemplated by the Plan shall not entitle the
non-Debtor party thereto to terminate such executory contract or unexpired lease or to exercise
any other default-related rights with respect thereto. Any party that fails to timely file a Cure
Dispute on the basis that consent to assume or assume and assign the applicable executory
contract is a condition to such assumption or assumption and assignment, shall be deemed to
have consented to the assumption or assumption and assignment, as applicable, of such contract.

       10.5.   Modifications, Amendments, Supplements, Restatements, or Other Agreements.

                 Unless otherwise provided in the Plan, each assumed or assumed and assigned
executory contract and unexpired lease shall include all modifications, amendments,
supplements, restatements or other agreements that in any manner affect such executory contract
or unexpired lease, and all executory contracts and unexpired leases related thereto, if any,
including all easements, licenses, permits, rights, privileges, immunities, options, rights of first
refusal and any other interests, unless any of the foregoing agreements has been previously
rejected or is rejected under the Plan or otherwise.

              Modifications, amendments, supplements and restatements to prepetition
executory contracts and unexpired leases that have been executed by the Debtors during the
Chapter 11 Cases shall not be deemed to alter the prepetition nature of the executory contract or
unexpired lease, or the validity, priority or amount of any Claims that may arise in connection
therewith.

       10.6.   Compensation and Benefit Programs.

                Except as otherwise expressly provided in this Plan, the Plan Funding Agreement,
in a prior order of the Bankruptcy Court or to the extent subject to a motion pending before the
Bankruptcy Court as of the Effective Date, in each case, with the consent of the Plan Investor
(solely with respect to such policies, plans and programs relating to employees to be employed
by the Acquired Debtors), all employment and severance policies, and all compensation and


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benefit plans, policies, and programs of the Debtors applicable to their respective employees,
retirees and non-employee directors including all savings plans, unfunded retirement plans,
healthcare plans, disability plans, severance benefit plans, incentive plans, and life, accidental
death and dismemberment insurance plans, and paid time off policies are treated as executory
contracts under the Plan and on the Effective Date will be rejected pursuant to the provisions of
sections 365 and 1123 of the Bankruptcy Code.

               Each of the Debtors may, prior to the Effective Date and with the consent of the
Plan Investor (if the following will become a liability of an Acquired Debtor), enter into
employment agreements with employees that become effective on or prior to the Effective Date
and survive consummation of this Plan. Any such agreements (or a summary of the material
terms thereof) shall be in form and substance acceptable to the Plan Investor and be included in
the Plan Supplement or otherwise filed with the Bankruptcy Court on or before the date of the
Confirmation Hearing.

                                           ARTICLE XI.

                                CONDITIONS PRECEDENT TO
                               CONSUMMATION OF THE PLAN

         11.1.   Conditions Precedent to Confirmation.

                 Confirmation of this Plan is subject to the following conditions:

              (a)     entry of an order approving the Disclosure Statement in form and
substance acceptable to the Debtors and each of the Required Parties;

                 (b)    entry of the Confirmation Order by the Bankruptcy Court;

              (c)    the RSA not having been terminated by the Debtors, the Plan Investor or
the Required Consenting Lenders in accordance with its terms; and

               (d)     the Plan Funding Agreement not having been terminated by the applicable
Debtor(s) or the Plan Investor in accordance with its terms.

         11.2.   Conditions Precedent to the Effective Date.

                 The occurrence of the Effective Date is subject to:

                 (a)    the Confirmation Order having become a Final Order in the Chapter 11
Cases;

              (b)    the Confirmation Order having been recognized by the Canadian Court in
the Canadian Proceeding;

                 (c)    the Plan Investor shall have paid the Closing Purchase Price to Wind
Down Co;




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                (d)    any non-technical and/or immaterial amendments, modifications or
supplements to the Plan shall be reasonably acceptable to the Debtors and each of the Required
Parties, except as otherwise provided in Section 14.5 of this Plan;

                (e)     all reasonable and documented Consenting Lender Fee Claims incurred in
connection with the Chapter 11 Cases, the negotiation and formulation of the Plan, DIP Credit
Agreement and related documents, and all transactions set forth herein or necessary to implement
and consummate the Plan (whether incurred before or after the Petition Date) shall have been
paid; provided that, if Wind Down Co disputes any such Consenting Lender Fee Claims, Wind
Down Co shall pay the undisputed amount of such Consenting Lender Fee Claims, and pay the
remaining portion of such Consenting Lender Fee Claims after such dispute is resolved by the
parties or by the Bankruptcy Court;

               (f)     all actions and all agreements, instruments or other documents necessary
to implement the terms and provisions of this Plan, including, without limitation, the Plan
Funding Agreement and the other documents included in the Plan Supplement, in form and
substance acceptable to the Debtors and each of the Required Parties as set forth in the RSA, the
Plan Funding Agreement, and herein, to be entered into (rather than assumed) by the applicable
Debtors being executed and delivered, and any conditions (other than the occurrence of the
Effective Date or certification by a Debtor that the Effective Date has occurred) contained
therein having been satisfied or waived in accordance therewith;

                (g)    the Debtors obtaining all authorizations, consents and regulatory
approvals, if any, required to be obtained, and filing all notices and reports, if any, required to be
filed, by the Debtors in connection with this Plan’s effectiveness;

                (h)   the RSA and the Plan Funding Agreement not having been terminated by
the applicable Debtors, the Plan Investor or the Required Consenting Lenders, as applicable, in
each case, in accordance with their respective terms;

             (i)     all closing conditions and other conditions precedent in the Plan Funding
Agreement shall have been satisfied or waived in accordance with the terms thereof; and

                (j)    there being sufficient Cash, in the Debtors’ good faith determination to
pay in accordance with the Plan all (if they are not Canadian Claims and/or Assumed U.S.
Liabilities) DIP Claims, Administrative Expense Claims, Fee Claims, Priority Tax Claims,
Priority Non-Tax Claims, Other Secured Claims, First Lien Lender Claims, 1.25 Lien Lender
Claims and 1.5 Lien Lender Fee Claims to the extent paid in Cash, U.S. Trustee Fees for the
Dissolving Debtors on an ongoing basis and U.S. Trustee Fees for the Acquired Debtors incurred
to the Effective Date, and any other anticipated Wind Down Costs, including, any amounts owed
under any key employee incentive and/or retention programs approved by the Bankruptcy Court.

               For the avoidance of doubt, notwithstanding the occurrence of the Effective Date,
on and after the Effective Date, the Plan Investor shall remain obligated to pay to Wind Down
Co the remainder of the Purchase Price, if any, subject to and in accordance with the terms of the
Plan Funding Agreement.




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       11.3.   Satisfaction and Waiver of Conditions Precedent.

                Except as otherwise provided herein, any actions taken on the Effective Date shall
be deemed to have occurred simultaneously and no such action shall be deemed to have occurred
prior to the taking of any other such action. Any of the conditions set forth in Sections 11.1 and
11.2 of this Plan may be waived in whole or part upon agreement by: (x) the Debtors and the
Plan Investor (with respect to Section 11.2(i) of this Plan), (y) the Debtors and each of the
Required Parties (with respect to Sections 11.1(a) – (d) and Sections 11.2(a) – (h) of this Plan),
or (z) the Debtors and the Required Consenting 1.5 Lien Lenders (with respect to Section 11.2(j)
of this Plan), and as the case may be, without notice and a hearing, and the Debtors’ benefits
under any “mootness” doctrine, but only to the extent applicable, shall be unaffected by any
provision hereof. The failure to assert the non-satisfaction of any such conditions shall not be
deemed a waiver of any other rights hereunder, and each such right shall be deemed an ongoing
right that may be asserted or waived (as set forth herein) at any time or from time to time.

       11.4.   Effect of Failure of Conditions.

                If all of the conditions to effectiveness have not been satisfied (as provided in
Sections 11.1 and 11.2 hereof) or duly waived (as provided in Section 11.3 hereof) and the
Effective Date has not occurred on or before the first Business Day that is more than 30 days
after the Confirmation Date, or by such later date as set forth by the Debtors in a notice filed with
the Bankruptcy Court prior to the expiration of such period, then the Debtors may file a motion
to vacate the Confirmation Order. Notwithstanding the filing of such a motion, the Confirmation
Order shall not be vacated if all of the conditions to consummation set forth in Sections 11.1 and
11.2 hereof are either satisfied or duly waived before the Bankruptcy Court enters an order
granting the relief requested in such motion. If the Confirmation Order is vacated pursuant to
this Section 11.4, this Plan shall be null and void in all respects, the Confirmation Order shall be
of no further force or effect, no Plan Distributions shall be made, the Debtors and all holders of
Claims and Interests shall be restored to the status quo ante as of the day immediately preceding
the Confirmation Date as though the Confirmation Date had never occurred, and upon such
occurrence, nothing contained in this Plan shall: (a) constitute a waiver or release of any Claims
against or Interests in the Debtors; (b) prejudice in any manner the rights of the holder of any
Claim against or Interest in the Debtors; or (c) constitute an admission, acknowledgment, offer or
undertaking by any Debtor or any other Person with respect to any matter set forth in the Plan.

                                          ARTICLE XII.

                                 EFFECT OF CONFIRMATION

       12.1.   Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and
subject to the occurrence of the Effective Date, on and after the Confirmation Date, the
provisions of this Plan shall bind any holder of a Claim against, or Interest in, the Debtors and
inure to the benefit of and be binding on such holder’s respective successors and assigns,
whether or not the Claim or Interest of such holder is impaired under this Plan and whether or
not such holder has accepted this Plan.


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       12.2.   Discharge of Claims Against and Interests in the Debtors.

                  Upon the Effective Date and in consideration of the Plan Distributions, if any,
except as otherwise provided herein or in the Confirmation Order (including with respect to
Canadian Claims and Assumed U.S. Liabilities), each Person that is a holder (as well as any
trustees and agents for or on behalf of such Person) of a Claim or Interest shall be deemed to
have forever waived, released, and discharged the Debtors, to the fullest extent permitted by
section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights and
liabilities that arose prior to the Effective Date. Except as otherwise provided herein, upon the
Effective Date, all such holders of Claims and Interests shall be forever precluded and enjoined,
pursuant to sections 105, 524 and 1141 of the Bankruptcy Code, from prosecuting or asserting
any such discharged Claim against or terminated Interest in any Debtor, any Reorganized
Debtor, including any Acquired Debtor or Dissolving Debtor, or any property, wherever located,
including Canada, of the Estates. For the avoidance of doubt, ancillary security enforcement,
insolvency processes and/or other proceedings may be deployed in any relevant jurisdictions to
implement the transactions set out in this Plan, including this Plan’s discharge provisions, in
order to ensure that they are fully effective.

       12.3.   Term of Pre-Confirmation Injunctions or Stays.

               Unless otherwise provided herein, all injunctions or stays provided in the Chapter
11 Cases arising prior to the Confirmation Date in accordance with sections 105 or 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
force and effect until the Effective Date. All stays and suspensions provided for in the Canadian
Proceeding pursuant to any order of the Canadian Court shall remain in full force and effect until
the Effective Date unless otherwise ordered by the Canadian Court.

       12.4.   Injunction Against Interference with Plan.

               Upon the entry of the Confirmation Order, all holders of Claims and
Interests and other Persons, along with their respective present or former affiliates,
employees, agents, officers, directors, or principals, shall be enjoined from taking any
actions, whether in the United States, Canada or elsewhere, to interfere with the
implementation or consummation of this Plan. Moreover, solely to the extent provided
under applicable law, the property dealt with by this Plan is transferred to, or vests in (or
both, as applicable) the Reorganized Debtors free and clear of all Claims and Interests
pursuant to section 1141(c) of the Bankruptcy Code. As such, to the fullest extent
permissible under applicable law, no Person holding a Claim or Interest may receive any
payment from, or seek recourse against, any assets that are to be distributed under this
Plan other than assets required to be distributed to that Person under this Plan and except
for Assumed U.S. Liabilities and Canadian Claims. As of the Confirmation Date, subject
to the occurrence of the Effective Date, to the fullest extent permissible under applicable
law, all Persons are precluded and barred from asserting against any property to be
distributed under this Plan any Claims, rights, Causes of Action, liabilities, Interests, or
other action or remedy based on any act, omission, transaction, or other activity that
occurred before the Confirmation Date except as expressly provided in this Plan or the



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Confirmation Order. Each of the Reorganized Debtors, as applicable, is expressly
authorized hereby to seek to enforce such injunction.

       12.5.   Injunction.

               Except as otherwise provided in this Plan or the Confirmation Order
(including with respect to Canadian Claims and Assumed U.S. Liabilities), as of the
Confirmation Date, but subject to the occurrence of the Effective Date, all Persons who
have held, hold or may hold Claims against or Interests in the Debtors or the Estates are,
with respect to any such Claims or Interests, permanently enjoined after the Confirmation
Date from: (i) commencing, conducting or continuing in any manner, directly or indirectly,
any suit, action or other proceeding of any kind (including any proceeding in a judicial,
arbitral, administrative or other forum) against or affecting the Released Parties, the
Reorganized Debtors, including the Acquired Debtors, and the Dissolving Debtors, the
Estates (including any of the foregoing located in Canada) or any of their property,
wherever located, including Canada, or any direct or indirect transferee of any property,
wherever located, of, or direct or indirect successor in interest to, any of the foregoing
Persons or any property, wherever located, including Canada, of any such transferee or
successor, on account of or in connection with or with respect to any released, settled,
compromised, or exculpated Claims, Interests, Causes of Action or liabilities; (ii) enforcing,
levying, attaching (including any pre-judgment attachment), collecting or otherwise
recovering by any manner or means, whether directly or indirectly, any judgment, award,
decree or order against the Released Parties, the Reorganized Debtors, including the
Acquired Debtors, and the Dissolving Debtors, the Estates (including any of the foregoing
located in Canada) or any of their property, wherever located, including Canada, or any
direct or indirect transferee of any property, wherever located, of, or direct or indirect
successor in interest to, any of the foregoing Persons, or any property, wherever located,
including Canada, of any such transferee or successor, on account of or in connection with
or with respect to any released, settled, compromised, or exculpated Claims, Interests,
Causes of Action or liabilities; (iii) creating, perfecting or otherwise enforcing in any
manner, directly or indirectly, any encumbrance of any kind against the Released Parties,
the Reorganized Debtors, including the Acquired Debtors, the Dissolving Debtors or the
Estates (including any of the foregoing located in Canada) or any of their property,
wherever located, including Canada, or any direct or indirect transferee of any property,
wherever located, including Canada, of, or successor in interest to, any of the foregoing
Persons, on account of or in connection with or with respect to any released, settled,
compromised, or exculpated Claims, Interests, Causes of Action or liabilities; (iv) acting or
proceeding in any manner, in any place whatsoever (including in Canada), that does not
conform to or comply with the provisions of this Plan to the full extent permitted by
applicable law; and (v) commencing or continuing, in any manner or in any place
(including in Canada), any action that does not comply with or is inconsistent with the
provisions of this Plan; provided, however, that nothing contained herein shall preclude
such Persons from exercising their rights, or obtaining benefits, pursuant to and consistent
with the terms of this Plan. For the avoidance of doubt, ancillary security enforcement,
insolvency processes and/or other proceedings may be deployed in any relevant
jurisdictions to implement the transactions set out in this Plan, including the injunctions set
forth in this Section 12.5, in order to ensure that they are fully effective. Each of the


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Reorganized Debtors, as applicable, is expressly authorized hereby to seek to enforce such
injunction.

       12.6.   Releases.

               (a)     Releases by the Debtors. For good and valuable consideration, the
adequacy of which is hereby confirmed, and except as otherwise provided in this Plan or
the Confirmation Order, as of the Effective Date, the Debtors, the Reorganized Debtors,
and the Dissolving Debtors in their individual capacities and as debtor in possession, shall
be deemed to forever release, waive and discharge all claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action and liabilities (other than the rights of
the Debtors or Reorganized Debtors to enforce this Plan and the contracts, instruments,
releases, agreements and documents delivered thereunder) against the other Released
Parties, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, then existing or thereafter arising, in law,
equity or otherwise that are based in whole or in part on any act, omission, transaction,
event or other occurrence taking place on or prior to the Effective Date in any way relating
to the Debtors, the Reorganized Debtors, including the Acquired Debtors, and the
Dissolving Debtors, the purchase, sale or rescission of the purchase or sale of any security
of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim
or Interest that is treated in the Plan, the parties released pursuant to this Section 12.6, the
Chapter 11 Cases, the Canadian Proceeding, the RSA, the DIP Facility, the Plan Funding
Agreement, or this Plan or the Disclosure Statement, and that could have been asserted by
or on behalf of the Debtors or their Estates or Reorganized Debtors or Dissolving Debtors,
whether directly, indirectly, derivatively or in any representative or any other capacity,
other than claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of
Action and liabilities arising out of or relating to any act or omission of a Released Party or
a former officer or director of the Debtors that constitutes gross negligence, willful
misconduct or actual fraud, each as determined by a Final Order of the Bankruptcy Court.

                (b)    Releases by and among Released Parties. Except as otherwise
provided in this Plan or the Confirmation Order, on the Effective Date, each of the
Released Parties (other than the Debtors, the Reorganized Debtors, and the Dissolving
Debtors, in their individual capacities and as debtor in possession and the other parties
listed in subsection (i) of the definition of Released Parties as they relate to the Debtors and
the Reorganized Debtors), in consideration for the obligations of the Debtors and
Reorganized Debtors under this Plan, the Plan Consideration and other contracts,
instruments, releases, agreements or documents executed and delivered in connection with
this Plan, will have consented to this Plan for all purposes and the restructuring embodied
herein and forever release, waive and discharge all claims, obligations, suits, judgments,
demands, debts, rights, Causes of Action and liabilities (other than the right to enforce the
obligations of any party under this Plan and the contracts, instruments, releases,
agreements and documents delivered under or in connection with this Plan) against the
other Released Parties and the Reorganized Debtors (including the Acquired Debtors, and
the Dissolving Debtors), whether liquidated or unliquidated, fixed or contingent, matured
or unmatured, known or unknown, foreseen or unforeseen, then existing or thereafter
arising, in law, equity or otherwise that are based in whole or in part on any act or


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omission, transaction, event or other occurrence taking place on or prior to the Effective
Date in any way relating to the Debtors, the Reorganized Debtors, including the Acquired
Debtors, and the Dissolving Debtors, the purchase, sale or rescission of the purchase or sale
of any security of the Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in the Plan, the Chapter 11 Cases, the
Canadian Proceeding, the RSA, the DIP Facility, the Plan Funding Agreement, or this Plan
or the Disclosure Statement.

               (c)    Releases of Directors and Officers. Except as otherwise provided in
this Plan or the Confirmation Order, and except with respect to any claims against
directors that cannot be released under section 5.1(2) of the Companies’ Creditors
Arrangement Act (Canada), on the Effective Date, each of the directors and officers of the
Debtors serving in such capacities as of the Petition Date, each in their capacities as such,
shall be deemed to be released from all claims, obligations, suits, judgments, demands,
debts, rights, Causes of Action and liabilities whatsoever (other than the right to enforce
the obligations of any party under this Plan and the contracts, instruments, releases,
agreements and documents delivered under or in connection with this Plan), whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, then existing or thereafter arising, in law, equity or
otherwise that are based in whole or in part on any act or omission, transaction, event or
other occurrence taking place on or prior to May 24, 2016 in any way relating to the
Debtors.

               (d)    Notwithstanding anything to the contrary contained herein: (i) except
to the extent permissible under applicable law, as such law may be extended or interpreted
subsequent to the Effective Date, the releases provided for in this Section 12.6 of the Plan
shall not release any non-Debtor entity from any liability arising under (x) the Internal
Revenue Code, Canadian federal tax law, or any state, provincial, city or municipal tax
code, or (y) any criminal laws of the United States, Canada or any state, province, city or
municipality; and (ii) the releases set forth in this Section 12.6 shall not release any
(x) claims against any Person to the extent such Person asserts a crossclaim, counterclaim
and/or claim for setoff which seeks affirmative relief against a Debtor or any of its officers,
directors, managers, managing members, or representatives and (y) claims against any
Person arising from or relating to such Person’s gross negligence, willful misconduct or
actual fraud, each as determined by a Final Order of the Bankruptcy Court.

       12.7.   Exculpation and Limitation of Liability.

                On the Effective Date, for good and valuable consideration, to the maximum
extent permissible under applicable law, none of the Released Parties shall have or incur
any liability to any holder of any Claim or Interest or any other Person for any act or
omission in connection with, or arising out of the Debtors’ restructuring, including the
negotiation, implementation and execution of this Plan, the Chapter 11 Cases, the
Canadian Proceeding, the RSA, the Plan Funding Agreement, the Disclosure Statement,
the DIP Credit Agreement, the solicitation of votes for and the pursuit of confirmation of
this Plan, the consummation of this Plan, or the administration of this Plan or the property
to be distributed under this Plan, including all documents ancillary thereto, all decisions,


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actions, inactions and alleged negligence or misconduct relating thereto and all activities
leading to the promulgation and confirmation of this Plan except for gross negligence or
willful misconduct, each as determined by a Final Order of the Bankruptcy Court. For
purposes of the foregoing, it is expressly understood that any act or omission effected with
the approval of the Bankruptcy Court conclusively will be deemed not to constitute gross
negligence, or willful misconduct unless the approval of the Bankruptcy Court was
obtained by fraud or misrepresentation, and in all respects, the applicable Persons shall be
entitled to rely on the written advice of counsel with respect to their duties and
responsibilities under, or in connection with, the Chapter 11 Cases, the Plan, and the
administration thereof.

       12.8.   Injunction Related to Releases and Exculpation.

                 The Confirmation Order shall permanently enjoin the commencement or
prosecution by any Person, whether directly, derivatively or otherwise, of any claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action or
liabilities released pursuant to this Plan, including the claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action or liabilities released in or encompassed
by Sections 12.6 and 12.7 of this Plan. Each of the Reorganized Debtors, as applicable, is
expressly authorized hereby to seek to enforce such injunction.

       12.9.   Retention of Causes of Action/Reservation of Rights.

                Subject to Section 12.6 of this Plan and except as expressly set forth herein,
nothing contained in this Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any rights, claims or Causes of Action, rights of setoff, or other legal or
equitable defenses that the Debtors had immediately prior to the Effective Date on behalf of the
Estates or of themselves in accordance with any provision of the Bankruptcy Code or any
applicable non-bankruptcy law. Subject to Section 12.6 of this Plan and except as expressly set
forth herein, the Acquired Debtors and the Dissolving Debtors, as applicable, shall have, retain,
reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff, or other legal
or equitable defenses as fully as if the Chapter 11 Cases had not been commenced, and all of the
Debtors’ legal and/or equitable rights respecting any Claim left unimpaired, as set forth in
Articles IV and V of this Plan, may be asserted after the Confirmation Date to the same extent as
if the Chapter 11 Cases had not been commenced; provided that, notwithstanding the foregoing
but subject to Section 12.6 of this Plan, in consideration of the amounts to be paid by the Plan
Investor under this Plan, on the Effective Date, all Causes of Action of the Debtors under chapter
5 of the Bankruptcy Code shall be transferred to the Acquired Debtors.

       12.10. Indemnification Obligations.

                 (a)      Notwithstanding anything to the contrary contained herein, subject to the
occurrence of the Effective Date and to the Plan Funding Agreement, the obligations (i) of the
Dissolving Debtors to indemnify, defend, reimburse, exculpate, advance fees and expenses to, or
limit the liability of directors or officers who were directors or officers of any of the Dissolving
Debtors as of the Petition Date or who continue to be directors or officers of any of the
Dissolving Debtors at any time after the Effective Date, or (ii) of the Acquired Debtors to


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indemnify, defend, reimburse, exculpate, advance fees and expenses to, or limit the liability of
directors or officers who continue to be directors or officers of any of the Acquired Debtors at
any time after the Effective Date, against any Causes of Action relating to the Dissolving
Debtors or the Acquired Debtors, as applicable, remain unaffected thereby after the Effective
Date and are not discharged as to the applicable Debtors, respectively. On and after the Effective
Date, none of the Reorganized Debtors shall terminate or otherwise reduce the coverage under
any directors’ and officers’ insurance policies in effect on the Petition Date, the Run Off D&O
Policy, and all directors and officers of the Debtors at any time shall be entitled to the full
benefits of any such policy for the full term of such policy, regardless of whether such directors
and/or officers remain in such positions after the Effective Date, provided, that, nothing in this
Plan shall be deemed or construed to require the applicable Reorganized Debtors to renew or
extend such polices, or to have any obligations thereunder. For a period of six years after the
Effective Date, the applicable Reorganized Debtors shall cooperate with any Person that served
as a director or officer of a Debtor at any time prior to the Effective Date, and make available to
any such Person, subject to applicable confidentiality and privilege concerns, such documents,
books, records or information relating to the Debtors’ activities prior to the Effective Date that
such Person may reasonably require in connection with the defense or preparation for the defense
of any claim against such Person relating to any action taken in connection with such Person’s
role as a director or officer of a Debtor.

               (b)      Prior to or on the Effective Date, the Debtors or Wind Down Co, on behalf
of the Debtors, with funds of the Debtors or proceeds of the Closing Purchase Price, shall
purchase a “run off” directors and officers liability policy, which shall (i) be effective as of the
Effective Date, (ii) have a six-year coverage period, and (iii) be on terms acceptable to the
Debtors (the “Run Off D&O Policy”).

                                         ARTICLE XIII.

                              RETENTION OF JURISDICTION

               Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding
entry of the Confirmation Order and the occurrence of the Effective Date, on and after the
Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in, arising under, or related to the Chapter 11
Cases for, among other things, the following purposes:

              (a)     To hear and determine applications for the assumption or rejection of
executory contracts or unexpired leases and the Cure Disputes resulting therefrom;

               (b)      To determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the Confirmation Date;

               (c)     To hear and resolve any disputes arising from or relating to (i) any orders
of the Bankruptcy Court granting relief under Bankruptcy Rule 2004, or (ii) any protective
orders entered by the Bankruptcy Court in connection with the foregoing;




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              (d)    To ensure that Plan Distributions to holders of Allowed Claims are
accomplished as provided herein;

                (e)  To consider Claims or the allowance, classification, priority, compromise,
estimation, or payment of any Claim, including any Administrative Expense Claim;

              (f)    To enter, implement, or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

               (g)     To issue and enforce injunctions, enter and implement other orders, and
take such other actions as may be necessary or appropriate to restrain interference by any Person
with the consummation, implementation, or enforcement of this Plan, the Confirmation Order, or
any other order of the Bankruptcy Court;

               (h)     To hear and determine any application to modify this Plan in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in this Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

               (i)     To hear and determine all Fee Claims;

                (j)    To hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan, the Confirmation Order, the Plan
Funding Agreement and any transactions or payments contemplated hereby or thereby, including
the Post-Closing Purchase Price Adjustment, the TSA, the Escrow and the Escrow Agreement, or
any agreement, instrument, or other document governing or relating to any of the foregoing;
provided that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
documents contained in the Plan Supplement that have a jurisdictional, forum selection or
dispute resolution clause that refers disputes to a different court and any disputes concerning
documents contained in the Plan Supplement shall be governed in accordance with the
provisions of such documents;

               (k)     To take any action and issue such orders, including any such action or
orders as may be necessary after occurrence of the Effective Date and/or consummation of the
Plan, as may be necessary to construe, enforce, implement, execute, and consummate this Plan,
including any release or injunction provisions set forth herein, or to maintain the integrity of this
Plan following consummation;

               (l)    To determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (m)     To hear and determine all disputes involving the existence, nature or scope
of the discharge, releases and injunction provisions contained in the Plan;

              (n)     To hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;



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               (o)     To hear and determine any other matters related hereto and not
inconsistent with the Bankruptcy Code and title 28 of the United States Code;

               (p)     To resolve any disputes concerning whether a Person had sufficient notice
of the Chapter 11 Cases or Canadian Proceeding, the Disclosure Statement Hearing, the
Confirmation Hearing, the Administrative Bar Date, or the deadline for responding or objecting
to a Cure Amount, for the purpose of determining whether a Claim or Interest is discharged
hereunder, or for any other purpose;

               (q)    To recover all assets of the Debtors and property of the Estates, wherever
located, including Canada; and

               (r)     To enter a final decree closing each of the Chapter 11 Cases.

If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter
11 Cases, the provisions of this Article XIII shall have no effect on and shall not control, limit, or
prohibit the exercise of jurisdiction by any other court having competent jurisdiction with respect
to such matter.

                                          ARTICLE XIV.

                               MISCELLANEOUS PROVISIONS

       14.1.   Exemption from Certain Transfer Taxes.

               To the fullest extent permitted by applicable law, all sale transactions
consummated by the Debtors and approved by the Bankruptcy Court on and after the
Confirmation Date through and including the Effective Date, including any transfers effectuated
under this Plan, the sale by the Debtors of any owned property pursuant to section 363(b) of the
Bankruptcy Code, and any assumption, assignment, and/or sale by the Debtors of their interests
in unexpired leases of non-residential real property or executory contracts pursuant to section
365(a) of the Bankruptcy Code, shall constitute a “transfer under a plan” within the purview of
section 1146 of the Bankruptcy Code, and shall not be subject to any stamp, real estate transfer,
mortgage recording, or other similar tax.

       14.2.   Retiree Benefits.

                On and after the Effective Date, pursuant to section 1129(a)(13) of the
Bankruptcy Code, the Acquired Debtors shall continue to pay all retiree benefits (within the
meaning of, and subject to the limitations of, section 1114 of the Bankruptcy Code), if any, at the
level established in accordance with section 1114 of the Bankruptcy Code, at any time prior to
the Confirmation Date, for the duration of the period for which any applicable Debtor had
obligated itself to provide such benefits. Nothing herein shall: (a) restrict the Debtors’ or the
applicable Acquired Debtors’ right to modify the terms and conditions of the retiree benefits, if
any, as otherwise permitted pursuant to the terms of the applicable plans, non-bankruptcy law, or
section 1114(m) of the Bankruptcy Code; or (b) be construed as an admission that any such
retiree benefits are owed by the Debtors.


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       14.3.   Dissolution of Creditors’ Committee.

               The Debtors do not anticipate that a Creditors’ Committee will be formed in the
Chapter 11 Cases. If, however, a Creditors’ Committee is appointed, it shall be automatically
dissolved on the Effective Date and all members, employees or agents thereof shall be released
and discharged from all rights and duties arising from, or related to, the Chapter 11 Cases.

       14.4.   Termination of Professionals.

                On the Effective Date, the engagement of each Professional Person retained by
the Debtors and the Creditors’ Committee, if any, shall be terminated without further order of the
Bankruptcy Court or act of the parties; provided, however, such Professional Persons shall be
entitled to prosecute their respective Fee Claims and represent their respective constituents with
respect to applications for allowance and payment of such Fee Claims, and the Dissolving
Debtors shall be responsible for the reasonable and documented fees, costs and expenses
associated with the prosecution of such Fee Claims. Nothing herein shall preclude any
Dissolving Debtor or any Acquired Debtor from engaging a former Professional Person on and
after the Effective Date in the same capacity as such Professional Person was engaged prior to
the Effective Date.

       14.5.   Amendments.

                This Plan may be amended, modified, or supplemented by the Debtors, with the
consent of each of the Required Parties, in the manner provided for by section 1127 of the
Bankruptcy Code or as otherwise permitted by law, without additional disclosure pursuant to
section 1125 of the Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court. In
addition, after the Confirmation Date, so long as such action does not adversely affect the
treatment of holders of Allowed Claims and Allowed Interests pursuant to this Plan, the Debtors
may make appropriate technical adjustments, remedy any defect or omission or reconcile any
inconsistencies in this Plan, the Plan Documents and/or the Confirmation Order, with respect to
such matters as may be necessary to carry out the purposes and effects of this Plan, and any
holder of a Claim or Interest that has accepted this Plan shall be deemed to have accepted this
Plan as amended, modified, or supplemented. The Debtors may make technical adjustments and
modifications to this Plan without further order or approval of the Bankruptcy Court; provided,
however, that, such technical adjustments and modifications are immaterial or do not adversely
affect the treatment of holders of Claims or Interests under the Plan.

       14.6.   Revocation or Withdrawal of this Plan.

                Subject to the terms and conditions of the RSA and the Plan Funding Agreement,
the Debtors reserve the right to revoke or withdraw this Plan prior to the Effective Date. If the
Debtors revoke or withdraw this Plan, in accordance with the preceding sentence, prior to the
Effective Date as to any or all of the Debtors, or if confirmation or consummation as to any or all
of the Debtors does not occur, then, with respect to such Debtors: (a) this Plan shall be null and
void in all respects; (b) any settlement or compromise embodied in this Plan (including the fixing
or limiting to an amount of any Claim or Interest or Class of Claims or Interests), assumption,
assumption and assignment, or rejection of executory contracts or leases affected by this Plan,



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and any document or agreement executed pursuant to this Plan shall be deemed null and void,
provided, however, that the Plan Investor, or any of its designees, shall retain its rights and to the
extent as expressly provided under the Transaction Documents; and (c) nothing contained in this
Plan shall (i) constitute a waiver or release of any Claims by or against, or any Interests in, such
Debtors or any other Person, (ii) prejudice in any manner the rights of such Debtors or any other
Person or (iii) constitute an admission of any sort by the Debtors or any other Person.

       14.7.   Allocation of Plan Distributions Between Principal and Interest.

                To the extent that any Allowed Claim entitled to a distribution under the Plan
consists of indebtedness and other amounts (such as accrued but unpaid interest thereon), such
distribution shall be allocated first to the principal amount of the Claim (as determined for
federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claim, to such other amounts.

       14.8.   Severability.

                 If, prior to the entry of the Confirmation Order, any term or provision of this Plan
is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at
the request of the Debtors, shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of this Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of this Plan, as it may have been altered or interpreted
in accordance with the foregoing, is valid and enforceable pursuant to its terms.

       14.9.   Governing Law.

                Except to the extent that the Bankruptcy Code or other U.S. federal law is
applicable, or to the extent a Plan Document or exhibit or schedule to the Plan provides
otherwise, the rights, duties, and obligations arising under this Plan and the Plan Documents
shall be governed by, and construed and enforced in accordance with, the laws of the State of
New York, without giving effect to the principles of conflict of laws thereof to the extent such
principles would result in the application of the laws of any other jurisdiction.

       14.10. Section 1125(e) of the Bankruptcy Code.

                The Debtors have, and upon confirmation of this Plan shall be deemed to have,
solicited acceptances of this Plan in good faith and in compliance with the applicable provisions
of the Bankruptcy Code, and the Debtors, the Plan Investor and the Consenting Lenders (and
each of their respective affiliates, agents, directors, officers, employees, advisors, and attorneys)
participated in good faith and in compliance with the applicable provisions of the Bankruptcy
Code in the offer, issuance, sale, solicitation and/or purchase of the securities offered and sold
under this Plan, and therefore are not, and on account of such offer, issuance, sale, solicitation,
and/or purchase will not be, liable at any time for the violation of any applicable law, rule, or


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regulation governing the solicitation of acceptances or rejections of this Plan or offer, issuance,
sale, or purchase of the securities offered and sold under this Plan.

       14.11. Inconsistency.

               In the event of any inconsistency among the Plan, the Disclosure Statement, the
Plan Documents, the RSA, the Plan Funding Agreement, any exhibit to the Plan or any other
instrument or document created or executed pursuant to the Plan, the provisions of the Plan shall
govern, provided, however, that the parties to the Plan Funding Agreement and the RSA shall
use commercially reasonable efforts to eliminate any such inconsistency by agreement prior to
the provisions of this section becoming applicable and enforceable.

       14.12. Time.

               In computing any period of time prescribed or allowed by this Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

       14.13. Exhibits.

               All exhibits to this Plan (including, without limitation, the Plan Documents, all
documents filed with the Plan Supplement, and the Plan Funding Agreement and all exhibits and
ancillary agreements thereto) are incorporated and are a part of this Plan as if set forth in full
herein.

       14.14. Notices.

               All notices or requests in connection with the Plan shall be in writing (including
by facsimile or electronic mail transmission) and, unless otherwise provided herein, shall be
deemed to have been duly given or made only when actually delivered or, in the case of notice
by facsimile or electronic mail transmission, when received and telephonically confirmed,
addressed as follows:

               SquareTwo Financial Services Corporation
               6300 South Syracuse Way, Suite 300
               Centennial, Colorado 80111
               Attention: J.B. Richardson, Jr., Chief Operating Officer
               E-mail:     jbrichardson@squaretwofinancial.com

               with copies to:

               Willkie Farr & Gallagher LLP
               787 Seventh Avenue
               New York, New York 10019
               Attention:    Matthew A. Feldman, Esq.
               Paul V. Shalhoub, Esq.
               Robin Spigel, Esq.
               E-mail:    mfeldman@willkie.com


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                          pshalhoub@willkie.com
                          rspigel@willkie.com

               Resurgent Holdings LLC
               c/o Sherman Capital Markets LLC
               200 Meeting Street
               Charleston, South Carolina 29401
               Attention: Jon Mazzoli, Director
               E-mail: jmazzoli@sfg.com

               with a copy to:

               Foley & Lardner LLP
               777 E. Wisconsin Avenue
               Milwaukee, Wisconsin 53202
               Attention: Patricia J. Lane, Esq.
                          Benjamin F. Rikkers, Esq.
                          Michael J. Small, Esq.
               E-mail:    plane@foley.com
                          brikkers@foley.com
                          msmall@foley.com

       14.15. Filing of Additional Documents.

               On or before substantial consummation of the Plan, the Debtors shall file with the
Bankruptcy Court such agreements and other documents as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan.

       14.16. Reservation of Rights.

                Except as expressly set forth herein, the Plan shall have no force or effect unless
and until the Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan,
any statement or provision contained herein, or the taking of any action by the Debtors with
respect to this Plan shall be or shall be deemed to be, an admission or waiver of any rights of the
Debtors with respect to any Claims or Interests prior to the Effective Date.




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Dated: March 3, 2017
       New York, New York


                                      Respectfully submitted,

                                      SQUARETWO FINANCIAL SERVICES
                                      CORPORATION, on behalf of itself and its affiliated
                                      Debtors




                                            By: /s/ J.B. Richardson, Jr.
                                            Name: J.B. Richardson, Jr.
                                            Title: President and Chief Executive Officer
                                                   and/or Authorized Signatory

      Counsel:

      WILLKIE FARR & GALLAGHER LLP

      Matthew A. Feldman, Esq.
      Paul V. Shalhoub, Esq.
      Robin Spigel, Esq.
      Debra C. McElligott, Esq.
      787 Seventh Avenue
      New York, NY 10019
      (212) 728-8000
      Counsel for the Prospective Debtors
      and Debtors in Possession




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                                         Exhibit A


                                 (Assumed U.S. Liabilities)



1.   Cure Amounts associated with any contracts and leases to be assumed by the Plan
     Investor as determined by the Plan Investor in accordance with Article X of the Plan.

2.   All Claims (excluding non-ordinary course litigation Claims) incurred by the Acquired
     Debtors in the ordinary course of business on and after the Petition Date that remain
     unpaid on the Effective Date; provided that the Debtors have complied with their
     obligations as and to the extent set forth in Section 6.1 of the Plan Funding Agreement in
     all material respects.
                                            Exhibit B

                                      (Excluded U.S. Assets)

All cash and cash equivalents, wherever located, and by whomever held in which one or more
U.S. Debtors and/or Canadian Debtors, hold any right, title and interest to, in or under, including
but not limited to, the below deposits:

Deposits
Surety Bond                $2,000,000      Cash collateral with Old Republic Surety Company
Cascades Deposit
(UMB)                      $1,717,851      Cash collateral for Letter of Credit with UMB
Corporate Aircraft         $487,723        Cash deposit, held with Huntington
Other Security Deposits    $148,475        Cash deposit with various leasing companies
                                           Cash balances in multiple IOLTAs with several
IOLTA                      $1,250,000      legal offices
                                           Cash deposit with credit card processor, held by
Global One Pay             $500,000        Global One
                                           Cash retainers paid to professional firms for future
Misc. Retainers            $1,700,000      work performed
